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             15                           FOR THE EASTERN DISTRICT OF CALIFORNIA
             16                          AND THE NORTHERN DISTRICT OF CALIFORNIA
                                  UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             17
                                    PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
             18
                  RALPH COLEMAN, et al.,                                  )   No.: Civ S 90-0520 LKK-JFM P
             19                                                           )
                                  Plaintiffs,                             )   THREE-JUDGE COURT
             20                                                           )
                         vs.                                              )
             21                                                           )
                  ARNOLD SCHWARZENEGGER, et al.,                          )
             22                                                           )
                                  Defendants                              )
             23                                                           )
                  MARCIANO PLATA ,et al.,                                 )   No. C01-1351 TEH
             24                                                           )
                                  Plaintiffs,                             )   THREE-JUDGE COURT
             25          vs.                                              )
                                                                          )   DECLARATION OF PABLO STEWART,
             26 ARNOLD SCHWARZENEGGER, et al.,                            )   M.D. IN SUPPORT OF PLAINTIFFS’
                                                                          )   OPPOSITION TO DEFENDANTS’ MOTION
             27          vs.                                              )   TO DISMISS AND/OR MOTION FOR
                                  Defendants                              )   SUMMARY JUDGMENT / ADJUDICATION
             28

                      DECLARATION OF PABLO STEWART, M.D. IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
[242130-1]                     AND/OR MOTION FOR SUMMARY JUDGMENT / ADJUDICATION, NOS.: CIV S 90-0520 LKK-JFM, C01-1351 TEH
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                             Exhibit A
               Case 2:90-cv-00520-KJM-SCR                        Document 3063         Filed 09/29/08   Page 4 of 120
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                                                                                                                      AMY WHELAN
                                                                                                              SARAH O. ZIMMERMAN5


                                                                September 16, 2008
            VIA U.S. MAIL AND EMAIL
            Lisa A. Tillman, Esq.
            Deputy Attorney General
            Office of the Attorney General
            P.O. Box 944255
            Sacramento, CA 94244-2550

                       Re:       Coleman v. Schwarzenegger; Plata v. Schwarzenegger
                                 Our File No. 0489-3

            Dear Ms. Tillman:

                   We have identified a few minor errors in Pablo Stewart’s August 15, 2008 Expert
            report. Please be aware that plaintiffs intend to issue a corrected report with the
            following changes, the majority of which are typographical:
            Page / Paragraph                                                     Change
            p. 10, ¶25                      change “Coleman Pls’ Trial Ex. 57” to “Joint Pls’ Trial Ex. 57”
            p. 24, ¶56                      change “Joint Pls’ Trial Ex. 141” to “Coleman Pls’ Trial Ex. 141”
            p. 25, ¶58                      change “Joint Pls’ Trial Ex. 142” to “Coleman Pls’ Trial Ex. 142”
            p. 27, ¶62                      change “Joint Pls’ Trial Ex. 143” to “Coleman Pls’ Trial Ex. 143”
            p. 34, ¶82                      change “Coleman Pls’ Trial Ex.” to “Joint Pls’ Trial Ex.”
            p. 37, ¶89(a)                   change the second reference to “Coleman Pls’ Trial Ex. 145” (after
                                            the words “between April 30 and June 6, 2008”) to “Coleman Pls’
                                            Trial Ex. 141”
            p. 43, subpart b                change “Coleman Pls’ Trial Ex. 153” to “Coleman Pls’ Trial Ex.
                                            154”
            p. 46, ¶94                      change “Coleman Pls’ Trial Ex. 69” to “Joint Pls’ Trial Ex. 69”
            p. 51, ¶105                     change “remain in the building” to “be transferred to a mainline
                                            EOP unit”


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Lisa A. Tillman, Esq.
September 16, 2008
Page 2


Page / Paragraph                                     Change
p. 51; ¶105          Delete “This account conflicts with” and replace with “In addition,
                     the Special Master’s 20th round report found that inmates…”
p. 55, ¶115          change “Joint Pls’ Trial Ex. 63” to “Coleman Pls’ Trial Ex. 35 and
                     Joint Pls’ Trial Ex. 103”
p. 65, footnote 8    change “Joint Pls’ Trial Ex. 71 at p. E_PRIV_05782” to “Joint Pls’
                     Trial Ex. 71 at p. E_PRIV_057802”
p. 69, ¶144          change the reference to “Joint Pls’ Trial Ex. 71” (after the words
                     “cycle of mental[ly] ill inmates”) to “Joint Pls’ Trial Ex. 70”

      I have also enclosed an updated list of plaintiffs’ trial exhibits. The previous lists
were provided to all parties in conjunction with plaintiffs’ expert reports.

                                                         Yours truly,

                                                         ROSEN, BIEN & GALVAN, LLP

                                                         /s/ Amy Whelan

                                                     By: Amy Whelan
AW:cg
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cc:   Rochelle East (via email)
      Paul Mello (via email)
      Renju Jacob (via email)
      Samantha Tama (via email)
      Charles Antonen (via email)
      Counsel for Intervenors (via email)
      Co-counsel




                                                                                     [240261-1]
Case 2:90-cv-00520-KJM-SCR   Document 3063   Filed 09/29/08   Page 6 of 120




                             Exhibit B
               Case 2:90-cv-00520-KJM-SCR                        Document 3063         Filed 09/29/08   Page 7 of 120
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                                                                                                                      AMY WHELAN
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                                                                September 23, 2008
            VIA U.S. MAIL AND EMAIL
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            P.O. Box 944255
            Sacramento, CA 94244-2550

                       Re:       Coleman v. Schwarzenegger; Plata v. Schwarzenegger
                                 Our File No. 0489-3

            Dear Ms. Tillman:

                  We have identified one other correction to Dr. Pablo Stewart’s August 15, 2008
            Expert report as follows:
            Page / Paragraph                                                     Change
            p. 52, ¶107                     change “The CDCR had at least 43 suicides in 2006 and I am
                                            informed by plaintiffs’ counsel that there have been 35 suicides
                                            reported by defendants already this year” to “The CDCR had at least
                                            43 suicides in 2006, reported 35 confirmed suicides in 2007, and,
                                            according to plaintiffs’ counsel, has reported 24 suicides this year as
                                            of August 15, 2008.”


                       We will provide the corrected report next week.

                                                                                      Yours truly,

                                                                                      ROSEN, BIEN & GALVAN, LLP

                                                                                      /s/ Amy Whelan

                                                                                 By: Amy Whelan
            AW:cg
            Enclosure

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Lisa A. Tillman, Esq.
September 23, 2008
Page 2

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      Renju Jacob (via email)
      Samantha Tama (via email)
      Charles Antonen (via email)
      Counsel for Intervenors (via email)
      Co-counsel




                                                                           [241793-2]
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                             Exhibit C
                  Case 2:90-cv-00520-KJM-SCR   Document 3063     Filed 09/29/08   Page 10 of 120


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             17                        FOR THE EASTERN DISTRICT OF CALIFORNIA
                                      AND THE NORTHERN DISTRICT OF CALIFORNIA
             18
                               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             19                 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
             20 RALPH COLEMAN, et al.,                  )   No.: Civ S 90-0520 LKK-JFM P
                                                        )
             21                Plaintiffs,              )   THREE-JUDGE COURT
                                                        )
             22         vs.                             )
                                                        )
                  ARNOLD SCHWARZENEGGER, et al.,        )
             23                                         )
                               Defendants               )
             24 MARCIANO PLATA ,et al.,                 )
                                                        )   No. C01-1351 THE
                                                        )
             25                Plaintiffs,              )   THREE-JUDGE COURT
                        vs.                             )
             26                                         )
                  ARNOLD SCHWARZENEGGER, et al.,        )   SUPPLEMENTAL EXPERT REPORT OF
             27                                         )   PABLO STEWART, M.D.
                        vs.                             )
                               Defendants               )
             28


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                               TABLE OF ABBREVIATIONS/ACRONYMS

             3CMS:            Correctional Clinical Case Manager System

             ACH:             Acute Care Hospital

             ADD:             Attention Deficit Disorder

             ADHD:            Attention Deficit Hyperactivity Disorder

             ADL:             Activities of Daily Living

             Ambu bag:        Ambulatory Bag Used for CPR

             APP:             Acute Psychiatric Program at Vacaville

             ASH:             Atascadero State Hospital

             ASP:             Avenal State Prison

             ASU:             Administrative Segregation Unit

             BMU:             Behavioral Modification Unit

             BPT:             Board of Prison Terms

             C-file:          Central File

             C&PR:            Classification and Parole Representative

             CAL:             Calipatria State Prison

             CAP:             Corrective Action Plan

             CC:              Correctional Counselor

             CCAT:            Coordinated Clinical Assessment Team

             CCC:             California Correctional Center

             CCI:             California Correctional Institution

             CCM:             Clinical Case Manager

             CCPOA:           California Correctional Peace Officers Association




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             CCWF:           Central California Women’s Facility

             CDC:            California Department of Corrections

             CDCR:           California Department of Corrections and Rehabilitation

             CEN:            Centinela State Prison

             CHCFs:          California Health Care Facilities

             CIM:            California Institute for Men

             CIW:            California Institute for Women

             CM:             Case Manager

             CMC:            California Men’s Colony

             CMF:            California Medical Facility

             CMO:            Chief Medical Officer

             CO:             Correctional Officer

             COR:            California State Prison/Corcoran

             CPR:            Cardiopulmonary Resuscitation

             CRC:            California Rehabilitation Center

             CSATF:          California Substance Abuse Treatment Facility

             CSH:            Coalinga State Hospital

             CSP:            California State Prison

             CSP/Corcoran:   California State Prison/Corcoran

             CSP/LAC:        California State Prison/Los Angeles County

             CSP/Sac:        California State Prison/Sacramento

             CSP/Solano:     California State Prison/Solano

             CTC:            Correctional Treatment Center




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             CTF:             California Training Facility/Soledad

             CTQ:             Confined To Quarters

             CVSP:            Chuckawalla Valley State Prison

             DAI:             Division of Adult Institutions

             DCHCS:           Division of Correctional Health Care Services

             DDP:             Developmental Disabilities Program

             DHS:             Department of Human Services

             DMH:             Department of Mental Health

             DNR:             Do Not Resuscitate

             DOF:             Director of Finance

             DON:             Director of Nursing

             DOT:             Directly Observed Therapy

             DRC:             Death Review Coordinator

             DRMC:            Delano Regional Medical Center

             DSM:             Diagnostic and Statistical Manual

             DTP:             Day Treatment Program

             DVI:             Deuel Vocational Institute

             EOP:             Enhanced Outpatient Program

             EPPD:            Earliest Possible Parole Date

             EPRD:            Earliest Possible Release Date

             ERDR:            Emergency Response and Death Review Committee

             ERRC:            Emergency Response Review Committee

             FIT:             Focus Improvement Team




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             Folsom:          Folsom State Prison

             FTE:             Full-Time Equivalent

             GACH:            General Acute Care Hospital

             GAF:             Global Assessment of Functioning

             GP:              General Population

             HCCUP:           Health Care Cost and Utilization Program

             HCM:             Health Care Manager

             HCPU:            Health Care Placement Unit

             HCQMC:           Health Care Quality Management Committee

             HDSP:            High Desert State Prison

             HQ:              Headquarters

             HS:              Hora Somni/Hour of Sleep

             ICC:             Institutional Classification Committee

             ICF:             Intermediate Care Facility

             ICU:             Intensive Care Unit

             IDTT:            Interdisciplinary Treatment Team

             IEX:             Indecent Exposure

             IMHIS:           Inmate Mental Health Information System

             INS:             Immigration and Naturalization Service

             IP:              Inmate Profile

             I/P:             Inmate/Patient

             ISP:             Ironwood State Prison

             ISU:             Investigative Services Unit




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             KVSP:           Kern Valley State Prison

             LCSW:           Licensed Clinical Social Worker

             LOC:            Level of Care

             LOP:            Local Operating Procedure

             LOU:            Locked Observation Unit

             LPN:            Licensed Practical Nurse

             LPT:            Licensed Psychiatric Technician

             LSW:            Limited Suicide Watch

             LVN:            Licensed Vocational Nurse

             MAR:            Medication Administration Record

             MCSP:           Mule Creek State Prison

             MDD:            Major Depressive Disorder

             MDO:            Mentally Disordered Offender

             MH-4:           Mental Health Assessment

             MHCB:           Mental Health Crisis Bed

             MHOHU:          Mental Health Outpatient Housing Unit

             MHSDS:          Mental Health Services Delivery System

             MHTS:           Mental Health Tracking System

             MOD:            Medical Officer of the Day

             MOU:            Memorandum of Understanding

             MSF:            Minimal Support Facility

             MTA:            Medical Technical Assistant

             NCF:            Normal Cognitive Functioning




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             NKSP:           North Kern State Prison

             NOS:            Not Otherwise Specified

             OHU:            Outpatient Housing Unit

             OIA:            Office of Investigative Affairs

             OP:             Operating Procedure

             OT:             Office Tech

             PBSP:           Pelican Bay State Prison

             PC:             Primary Clinician

             PHU:            Protective Housing Unit

             PIA:            Prison Industry Authority

             POC:            Parole Outpatient Clinic or Psychiatrist on Call

             POD:            Psychiatrist on Duty or Psychiatrist of the Day

             PSH:            Patton State Hospital

             PSU:            Psychiatric Services Unit

             PSW:            Psychiatric Social Worker

             PT:             Psychiatric Technician

             PTSD:           Post Traumatic Stress Disorder

             PVSP:           Pleasant Valley State Prison

             QIP:            Quality Improvement Plan

             QIT:            Quality Improvement Team

             QMAT:           Quality Management Assessment Team

             QMT:            Quality Management Team

             R&R:            Receiving & Release




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             RC:              Reception Center

             RJD:             Richard J. Donovan Correctional Facility

             RN:              Registered Nurse

             RT:              Recreation Therapist

             RVR:             Rule Violation Report

             SAC:             California State Prison/Sacramento

             SCC:             Sierra Conservation Center

             SHU:             Security Housing Unit

             SI:              Suicidal Ideation

             SMY:             Small Management Yard

             SNF:             Skilled Nursing Facility

             SNY:             Sensitive Needs Yard

             SPC:             Suicide Prevention Committee

             SPR-FIT:         Suicide Prevention and Response Focused Improvement Team

             SPU:             Special Processing Unit

             SQ:              California State Prison/San Quentin

             SRA:             Suicide Risk Assessment

             SRAC:            Suicide Risk Assessment Checklist

             SRC:             Suicide Review Committee

             SRN:             Senior Registered Nurse

             SSI:             Supplemental Security Income

             SVP:             Sexually Violent Predator

             SVPP:            Salinas Valley Psychiatric Program




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             SVSP:           Salinas Valley State Prison

             TCMP:           Transitional Case Management Program

             THU:            Transitional Housing Unit

             TLU:            Transitional Living Unit

             TPU:            Transitional Program Unit or Temporary Protective Unit

             TTA:            Triage and Treatment Area

             UCC:            Unit Classification Committee

             UCSF:           University of California at San Francisco

             UHR:            Unit Health Records

             UNA:            Unidentified Needs Assessment

             VSPW:           Valley State Prison for Women

             VPP:            Vacaville Psychiatric Program

             WSP:            Wasco State Prison




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                  SUPPLEMENTAL EXPERT REPORT OF PABLO STEWART, M.D.

             I.     INTRODUCTION
                    1.      I am a physician licensed to practice in California, with a specialty in clinical and

             forensic psychiatry. A true and correct copy of my current curriculum vitae is attached hereto as

             Appendix A.

                    2.      I previously completed a report in this matter on November 9, 2007, which I will

             refer to here as my “11/9/07 Report.” My previous report sets forth my full academic and

             professional career, including my extensive work as a consultant and expert for jail and prison

             facilities in California and in other states (including Michigan, Georgia, and New Mexico) as

             well as the various professional positions I have held. 11/9/07 Report at pp. 1-9.

                    3.      My 11/9/07 Report also details my presentations before mental health

             professionals, prosecuting and defense attorneys, probation officers, and judges, and my

             publications in professional and peer-reviewed journals over the past several years. Since

             submitting my prior report, I have not authored any additional publications. I have testified as an

             expert in court or in a deposition in the following matters since November 9, 2007: Coleman v.

             Schwarzenegger; Plata v. Schwarzenegger; People v. Mathew Cunningham (Maricopa County,

             Arizona); People v. Alfredo Prieto (Fairfax County, Virginia); People v. Edward Gutierrez
             (Santa Clara County, California), and; Fred Graves, et al. v. Joseph Arpaio, et al. (Phoenix,

             Arizona).
                    4.      I currently work as a private psychiatric consultant and as a Clinical Professor in

             the Department of Psychiatry at the University of California, San Francisco, School of

             Medicine. I am being compensated as an expert in this case as follows: $250 per hour for

             routine office work, writing, document review, and other similar tasks; $3,000 per day for tours

             and full day meetings or projects; $400 per hour for time testifying in depositions and at trial,

             with a 4 hour minimum for that work.



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                      5.    I have been retained by plaintiffs’ attorneys in the Coleman and Plata cases as an

             expert on prison medical care and prison psychiatry and the impact of overcrowding on

             prisoners’ medical and mental health, including how prison overcrowding detrimentally affects

             prisoners’ mental health and interferes with the ability of prison officials to meet the existing and

             increased medical and mental health needs of the prisoners in an overcrowded system. As stated

             in my previous report, I have also been asked to render my opinion as to whether overcrowding

             within the California Department of Corrections and Rehabilitation (CDCR) is the primary cause

             of the current unconstitutional conditions experienced by members of the Coleman and Plata

             classes. I have also been asked to address whether other relief – that does not address

             overcrowding – will remedy the ongoing constitutional violations in a timely and effective

             manner. Finally, I have also been asked to offer an opinion concerning whether and to what

             extent public safety would be affected by a prisoner release order that included prisoners with

             mental illnesses.
                      6.    I submit this supplemental report in order to update and expand upon my opinions

             on these matters and to present my findings from three recent prison inspections.

                      7.    My opinions are based on my knowledge of the psychiatric and social science

             literature regarding the effects of overcrowded jail and prison conditions on the mental health of

             inmates and on my personal experiences assessing and treating individual inmates within the

             context of overcrowded correctional systems as set forth in my prior report and my curriculum

             vitae.

                      8.    When I submitted my previous report, the Receiver and the Special Master had

             already submitted several reports to the Courts regarding overcrowding and the Governor had

             declared a state of emergency in California due to the prison overcrowding crisis. It remains my

             opinion that the serious problems described in those reports continue to plague the California

             medical and mental health systems.

                      9.    In the months since I completed my prior report for this case, the Coleman

             Special Master issued a final 19th monitoring report for tours conducted between March and


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             early June of 2007 and a draft 20th round monitoring report for the monitoring period of

             September 2007 through February of 2008. The Plata Receiver also issued his 7th and 8th

             quarterly reports regarding the status of the healthcare system in the prisons, dated March 14,

             2008 and June 17, 2008 respectively. I reviewed these documents, and others, in order to update

             my opinions in this matter. A complete list of the materials I have reviewed, including the

             updated materials I reviewed for this supplemental report, is attached hereto as Appendix B.

                    10.     My opinions are also based on the site inspections I completed back in October

             and November of 2007 and, more recently, in late July and early August of 2008. Specifically, I

             toured the following institutions on the following dates: Deuel Vocational Institute (DVI)

             (October 29, 2007); California State Prison-Solano (Solano) (October 31, 2007); Salinas Valley

             State Prison (SVSP) (November 1, 2007 and July 29, 2008); California Medical Facility (CMF)

             (July 30, 2008), and; Mule Creek State Prison (MCSP) (August 1, 2008).
                    11.     During each of the site inspections I conducted, staff provided me with excellent

             access to information, clinicians, housing areas, treatment spaces and to prisoners and their

             medical and mental health records. I also was accompanied by a photographer on some of my

             recent tours and was able to have photographs taken when I or the accompanying attorneys so

             requested. Custody and clinical staff, including both medical and mental health clinicians, made

             themselves available throughout the day and answered questions about existing conditions,

             problems, plans for the future and challenges. The institutions also provided requested

             documents for each tour, including information such as logs of patients transferred to (or

             awaiting transfer to) higher levels of care and printouts showing Coleman class members by

             housing unit. Various pictures from my tours are attached as follows:


                             Appendix C         Mesh, holding cages in the Salinas Valley State Prison
                                                Correctional Treatment Center (CTC)
                             Appendix D         Mental Health Outpatient Housing Unit Cells at Mule
                                                Creek State Prison
                             Appendix E         Gym Dorm on B-Yard at Mule Creek State Prison




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                             Appendix F         Gym Dorm on A-Yard at Mule Creek State Prison


             II.     SUMMARY OF MY OPINIONS IN THIS MATTER
                    12.     As set forth in detail below, it is my opinion that there has been no material

             change in the conditions of severe overcrowding in the California prison system in the past eight

             months since I issued my prior report. In particular, it remains my opinion that overcrowding is

             the primary cause of the constitutional violations currently experienced by Coleman and Plata

             class members, that the State must reduce the population (including Coleman class members) if

             it has any hope of addressing those violations and that such reductions can be done safely.
                    13.     Although my report details several deficiencies in the medical and mental health

             care systems that I believe are the direct result of overcrowding, the following are the systemic

             problems that I find most disturbing and that, in my opinion, have the most detrimental effects on

             the Coleman and Plata classes:

                    •       The Coleman class, as a whole, is more acutely ill due to the extreme shortage of

                    beds at every level of care. This is particularly true for class members in need of acute

                    hospitalization, but the shortages affect the entire Mental Health Services Delivery

                    System (MHSDS). By denying prompt access to inpatient care, the State is allowing

                    patients to become more acutely ill than they otherwise would. By the time those patients

                    reach an inpatient bed, they will generally require more resources for a longer period of

                    time to become well than they otherwise may have needed. This further backlogs the

                    system, thereby exacerbating the shortage of beds and making it difficult to assess the

                    true demand for services.

                    •       The medication management system is overwhelmed and the State is therefore

                    unable to adequately monitor both the efficacy and the side effects of prescribed

                    medications. I saw this problem time and again on my tours. Because of staff shortages,

                    frequent lock-downs, overwhelmed pharmacies and medical records offices, and the vast

                    number of patients on medications, staff spend only a few seconds with each patient



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                 when they distribute medications. Too many clinical contacts occur at cell front, in

                 makeshift “offices” or in the open with no confidentiality, without access to medical

                 records and by clinicians with little or no ongoing relationship with their patient.

                 Problems such as side effects, refusals and unrelieved symptoms are regularly not

                 identified, reported or followed up on with psychiatric appointments or blood testing.

                 Continuity of care is hampered by staff turnover and major reliance on contract and

                 registry clinicians. The ability to appropriately monitor both the efficacy and the effects

                 of medication is a key component of basic psychiatric and medical care.

                 •      Until overcrowding is reduced, the State will be unable to hire and retain
                 adequate, qualified and permanent staff. As detailed below and as explained in the

                 Coleman Special Master and the Plata Receiver’s reports to the Courts, many medical

                 and mental health staff face significant challenges in the current overcrowded system,

                 including inadequate office and treatment space, insufficient inpatient beds, and large

                 caseloads. These are difficult working conditions that, in my opinion, hamper the State’s

                 ability to hire and retain permanent and qualified staff.

                 •      The overcrowded conditions themselves significantly burden the medical and

                 mental healthcare systems. Because of population pressures, inmates are frequently

                 housed in places that either exacerbate or, in some instances, might trigger mental health

                 symptoms, including crowded dorms, administrative segregation units, holding cages,

                 and small cells that were built for one person, but currently hold two. These conditions

                 put added pressure on the already over-burdened medical and mental health systems.

                 •      The overburdened system results in a suicide rate that is nearly twice the national

                 average. The Coleman Special Master found in his analysis of 2006 suicides that more

                 than 70 percent were “foreseeable and/or preventable.” Joint Pls’ Trial Ex. 58 at p. 2. In

                 my opinion, the high suicide rate is a direct result of overcrowding in that the system

                 lacks beds at every level of care, is plagued with poor medication management practices,

                 and has severe shortages of adequate and permanent staff.


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             III.     MY OPINIONS IN THIS MATTER

                     A.     Opinion 1: Overcrowding Within The CDCR Is The Primary Cause Of The
                            Constitutional Violations Currently Experienced By Coleman And Plata
                            Class Members.
                     14.    My previous report detailed the characteristics that are typically seen in

             overcrowded correctional settings, including shortages of medical, mental health and correctional

             staff, insufficient treatment space in which to provide therapeutic activities and contacts,

             dangerous and chaotic living conditions, increased idleness among prisoners due to decreased

             programming, increased population pressures on reception centers and locked areas such as

             administrative segregation units and delayed access to higher levels of care. All of these

             characteristics, particularly when they are permitted to go on for long periods of time,

             significantly increase the burden placed on mental health and medical systems.1 I have

             personally witnessed these conditions in California’s prisons and am also aware that they are

             well-documented by others with intimate knowledge of California’s system, including the

             Governor, the federal Receiver who oversees the medical care system and the Special Master in

             the Coleman case.

                     15.    The facilities and conditions I have observed in the California Prison system

             represent the most overcrowded conditions I have seen. In this report, I first set forth the

             findings from my late July and early August 2008 tours at SVSP, CMF and MCSP. I have also

             provided updated information about facilities I did not return to during my recent round of

             inspections. Finally, I discuss my overall opinions in this case based on my prior report, my


             1
               See P. Paulus, G. McCain, V. Cox, “The Relationship Between Illness Complaints and Degree
             of Crowding in a Prison Environment,” Environment and Behavior 8 (1976) at 283, 288; P.
             Paulus, G. McCain, V. Cox, “Death Rates, Psychiatric Commitments, Blood Pressure, and
             Perceived Crowding as a Function of Institutional Crowding,” Environmental Psychology and
             Nonverbal Behavior 3 (1978) at 107, 115; V. Cox, P. Paulus, G. McCain, “Prison Crowding
             Research,” American Psychologist 39 (1984) at 1148, 1159; E. Sieh, “Prison Overcrowding:
             The Case of New Jersey,” Federal Probation 53 (1989) at 41; B Walker and T. Gordon, “Health
             Risks and High Density Confinement in Jail and Prisons,” Federal Probation 44 (1980) at 53.
             See also Joint Pls’ Trial Ex. 27 (Plata Receiver’s June 11, 2007 Supplemental Report on
             Overcrowding) at 3 (discussing increasing risk of “communicable disease outbreaks” in
             overcrowded CDCR units).

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             updated tours of these facilities and my review of additional materials and documents identified

             in Appendix B.

                            1.     Evidence Concerning Overcrowding-Induced Constitutional
                                   Violations from My Recent Prison Inspections


                                   (a)     Salinas Valley State Prison (SVSP) Tour


                                           SVSP Tour Overview

                    16.     I toured Salinas Valley State Prison (SVSP) on November 1, 2007 and again on

             July 29, 2008. SVSP is a Level IV high security institution located south of the city of Salinas in

             the Salinas Valley. According to the most recent CDCR weekly population report, as of

             midnight on August 6, 2008, SVSP had a population of 4,085 and a design capacity of 2,388,

             which means SVSP was operating at 171.1 percent of capacity. Joint Pls’ Trial Ex. 65 at p. 2.

             My previous opinions and observations about SVSP were set forth on pages 51-63 of my

             November 9, 2007 Report.
                    17.     Similar to my last tour at SVSP, I observed significant overcrowding-related

             problems at SVSP, including serious problems with access to higher levels of care, poor

             medication distribution and compliance, staffing shortages, and inadequate treatment and office

             space. 11/9/07 Report at pp. 51-63. According to the data provided by staff during the tour,

             there were 1,537 total Coleman class members housed at SVSP, with 1,152 at the 3CMS level of

             care and 232 at the EOP level of care as of July 28, 2008. Coleman Pls’ Trial Ex. 136. This

             means that SVSP was operating at 115 percent capacity of its 3CMS program and 121 percent

             capacity of its EOP program. Coleman Pls’ Trial Ex. 57 at p. 3 (showing SVSP’s capacities of

             999 for 3CMS patients and 192 for its EOP program). The data provided during the tour also

             showed that between April 29, 2008 and July 28, 2008, SVSP admitted 50 patients into mental

             health crisis beds and housed 79 patients in various “overflow” placements because crisis beds

             were unavailable. Coleman Pls’ Trial Ex. 136.




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                     18.     Because SVSP has mental health programs operated by both the CDCR and the

             Department of Mental Health (DMH), I was able to observe the movement of patients between

             those systems. DMH runs the freestanding building, called the SVPP, which provides sixty four

             (64) Intermediate Care Facility (ICF) beds to Coleman class members. DMH also runs units D-5

             and D-6 which provide a combined 112 ICF beds for the Coleman class. The CDCR operates

             the mental health crisis beds located in the Correctional Treatment Center and also oversees the

             units housing EOP and 3CMS class members.

                                             Long Waiting List for Intermediate Care Facility Beds

                     19.     DMH staff reported during the tour of SVSP that the current waiting list for the

             level IV ICF beds was at 171 patients. This waiting list is system-wide and has been a constant

             source of concern by the Coleman Special Master.

                     20.     The extremely long waiting list for ICF beds has a ripple effect throughout the

             system.2 Sterling Price, the Acting Executive Director of DMH who attended both my Salinas

             Valley State Prison and my California Medical Facility tours, acknowledged that some of the

             inmates on the SVPP waiting list for ICF beds have been on the list since 2005. This is

             consistent with the reports from psychologists at both SVSP and CMF who said that it can take

             up to a year for a patient to come off of the waiting list. Dr. Kittimongcolporn, the Clinical

             Director of the MHCB unit at SVSP, reported that it takes a year or longer to get her patients to

             an ICF bed and that she does not typically refer patients to those beds for that reason. Dr.

             Burkhardt, a psychologist at SVSP who previously worked as the Clinical Director of the CTC,

             also reported a 9-12 month wait for ICF beds. When I asked Dr. Burkhardt whether she

             continues to refer patients to that list, she said that she really only refers lifers who are at the

             EOP level of care since those patients will be around long enough to wait for a bed. The

             Coleman Court also recognized the problem of under-referrals in its June 28, 2007 Order:

             2
               SVSP staff reported that construction of another 64-bed ICF unit is on schedule for completion
             later this year. These beds, while badly needed, will still fail to address the serious shortfall of
             beds.

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             “Indeed, from other sources the court has learned that at least some CDCR clinicians have

             stopped referring patients to DMH because of its refusal to accept referrals.” 6/28/07 Order

             (Docket 2301) at 3, fn. 2.

                    21.     The impact of such a long waiting list for essential inpatient beds cannot be

             overstated. When psychologists and psychiatrists face waiting lists of 9-12 months, they

             inevitably will stop referring patients to those beds, as Dr. Burkhardt and Dr. Kittimongcolporn

             confirmed. This is because the referral becomes an exercise in futility for the already over-

             burdened mental health staff, particularly if the referrals involve patients who are paroling soon.

             As a result, patients will parole without receiving the appropriate mental health care and are

             more likely to return to their home communities in less stable conditions. This, in turn, will

             increase the demand on the limited parole and community mental health services and increase

             the likelihood that the patient may reoffend and be returned to the prison system. Overcrowding

             is a tremendous obstacle to CDCR’s ability to address the cycling of persons with serious mental

             illness from parole to prison.
                    22.     Data associated with the recent addition of 50 mental health crisis beds at CMF

             also suggests that clinicians have been under-referring patients for crisis care. Whereas referrals

             to MHCBs ranged from 276 to 298 between March and May of 2008, they jumped to 355 in

             June, the month that the new beds opened. Coleman Pls’ Trial Ex. 137. It is possible that this

             surge in referrals, which represents the highest number of referrals since at least November of

             2006, resulted not from a greater rate of crisis incidents, but rather from the realization among

             clinicians that crisis beds were now available. That is, clinicians previously identified the

             patients, but did not refer them to MHCB because the resource was simply not available.

                                              Waiting List for Acute Inpatient Beds

                    23.     Sterling Price reported that the waiting list for the acute psychiatric hospital at

             CMF was 15 as of July 29, 2008 but that it was up to 45 patients as recently as July 1, 2008. I

             heard reports from staff members at SVSP and CMF that it takes anywhere from about two to



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             eight weeks to get a patient into an acute bed. SVSP also listed access to acute beds as a

             problem in its Coleman 21st Round Corrective Action Plan, dated May 23, 2008: “We continue

             to experience difficulty with the continual wait list for our referral to DMH acute for any referral

             reason. Length of wait has also been longer for self injurious behaviors and suicidal ideation.

             We had one inmate who was referred for grave disability reason at an acute level that we decided

             to send [] back to EOP to wait for intermediate level of referral so that he at least could program

             there while waiting.” Coleman Pls’ Ex. 138 at p. 7.

                    24.     This backlog is particularly significant in an overcrowded system like the

             CDCR’s. Dr. Kittimongcolporn, the Clinical Director of the CTC at SVSP, told me that if she

             refers a patient to an acute bed from a mental health crisis bed (MHCB), that patient stays in the

             MHCB until he is transferred. While it may be clinically appropriate (and even necessary) for a

             patient to remain in an MHCB while he awaits transfer, it also means that that patient is

             occupying a bed that is in high demand for other acutely ill and suicidal patients. This puts

             clinicians in the dangerous position of having to triage the mental health acuity of their patients

             because they simply do not have enough options for adequate treatment.

                                            Problems with Access to MHCB Care at SVSP

                    25.     The Special Master has documented system wide shortages of MHCBs

             repeatedly, including in his 20th round report: “There continued to be too few MHCBs to

             accommodate CDCR’s mental health population. Inadequate capacity was exacerbated by

             delayed access to DMH and EOP programs, as needed MHCBs were too often filled with

             decompensated or fragile inmates waiting weeks and months to be transferred to an appropriate

             level of care. The ongoing challenge to find beds for inmates with chronic, long-term medical

             conditions regularly reduced MHCB capacity at CSP/LAC, HDSP, MCSP, and SVSP.” Joint

             Pls’ Trial Ex. 57 at p. 351. As a result of these severe shortages, institutions are forced to house

             acutely mentally ill patients in settings that are cruel and inappropriate for crisis care:




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                    As a result of the scarcity of MHCBs throughout the system, institutions
                    continued to resort to the use of alternative beds to house inmates pending MHCB
                    transfers. These alternative locations were uniformly inappropriate for acute care.
                    Throughout the monitoring period, inmates were admitted to alternative areas for
                    stays lasting longer than 72 hours. Many of them had multiple admissions.
                    Inmates who might have been clinically considered for DMH levels of care if they
                    had been admitted to MHCBs were not given that consideration. Complete and
                    reliable data regarding the locations and uses of these alternative cells was rarely
                    available.

             Joint Pls’ Trial Ex. 57 at p. 352.
                    26.     My prior report documented the serious problems I saw at SVSP with respect to

             suicidal inmates’ impeded access to mental health crisis beds and consequent placements in

             wholly inadequate alternative settings. See 11/19/07 Report at pp. 58-60. These problems,

             including a shortage of sufficient mental health crisis beds and the use of make-shift cages to

             hold patients waiting for crisis beds, existed during my July 29, 2008 tour as well. Dr.

             Kittimongcolporn, the Clinical Director of the CTC at SVSP, reported that the MHCBs are

             almost always full. The Chief Psychiatrist, Dr. Wilson, explained that he has to “fight” to

             maintain the 6-8 MHCBs so that medical patients are not placed in those beds. While the MHCB

             unit at SVSP is theoretically open to other institutions, staff reported that only “very rarely” is

             anyone outside of SVSP admitted to the unit, although it did happen the week before the tour.

                    27.     During my tour on July 29, 2008, I observed again the dry holding cages that

             SVSP must use when there are no available mental health crisis beds. I described these cages

             and the wet cells used for overnight stays in the CTC in my prior report:

                    Dr. Chase also indicated that the institution uses a variety of overflow holding cells due
                    to the MHCB shortage. She indicated that three “dry cells,” which are tiny freestanding
                    upright cages with mesh wiring surrounding them (and no toilet) are routinely used
                    during the day to house suicidal inmates. I observed these small holding cages on the
                    tour of SVSP and they are extremely confined and are clinically inappropriate locations
                    to assess suicidality and to have confidential psychiatric interviews with suicidal inmates.
                    At night, these inmates are transferred into one of four holding cells outside the entrance
                    to the CTC which are known as “wet cells” because they have toilets. SVSP also
                    routinely uses “BPT cells” located on each yard for overflow suicide watch. This report
                    was consistent with the findings of the Special Master in the most recent progress report.
                    See Joint Pls’ Trial Ex. 36 (18th Monitoring Report of the Special Master) at 153 (noting


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                    that holding cells “were in use daily and frequently housed inmates overnight. The
                    holding cells in daily use were stand-up mesh cells. Holding cells used overnight were
                    large group waiting rooms that had plumbing and that could be furnished with
                    mattresses…Standard CTC procedures resulted in heavy use of both types of cells and
                    many overnight stays in large holding cells.”). The MHSDS system never intended to
                    permit the use of holding cells, particularly one where a patient is required to sit in a wire
                    mesh holding cell without access to minimum health and safety standards. The use of
                    these non-authorized, unlicensed “treatment settings” results in an exacerbation of the
                    underlying mental illness which led to the mental health crisis.

             11/9/07 Report at pp. 59-60.
                    28.     During my tour on July 29, 2008, I spoke with Coleman Class Member SSS, an

             inmate who was waiting in one of the stand-up, mesh holding cages for admission to a crisis bed.

             Logs in the unit showed that Coleman Class Member SSS was admitted to the crisis bed unit the

             previous day, but was still waiting for placement. He was moved from the dry holding cage to a

             wet cell at 7:15 p.m. the night before and was back in the dry holding cage as of 8:15 a.m. the

             following morning. Staff reported that while Coleman Class Member SSS would be admitted

             within 24 hours, other inmates sometimes wait several days for admission, particularly on the

             weekends. A Psychologist on C-Facility, for instance, reported that patients often stay in the dry

             holding cells (with moves to the wet cells in the evenings) from Friday to Monday if they need

             crisis care on the weekends. This is consistent with the data SVSP provided to the Special

             Master for his 21st monitoring round showing that of the 80 referrals made to MHCBs between

             November of 2007 and April of 2008, 45 (56 percent) were admitted on the same day, 24 (30

             percent) were admitted within 1 day, 5 (6 percent) were admitted within 2 days and 6 (8 percent)

             were admitted in 3 or more days. Coleman Pls’ Trial Ex. 138 at p. 6.
                    29.     The stand-up, mesh holding cages are not clinically appropriate places to house

             patients who are having mental health crises. Pictures of the cages from my tour are attached to

             this report as Appendix C. Staff informed me during the tour that they cannot utilize wet

             holding cells for those patients during the day, however, because they have to use those cells to

             hold inmates awaiting medical appointments. This is another example of medical and mental

             health staff competing for very limited space in medical and mental health systems that simply



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             cannot accommodate the large volume of patients. To treat a patient in crisis as if he was a

             dangerous animal, subjecting him to public degradation and humiliation, is, by definition,

             inappropriate mental health care. The routine use of these cages throughout the system for

             mental health interventions is itself a tragic symptom of an overcrowded and dangerous system

             where mental health staff are taught to be fearful of their patients and inhumane practices are not

             only tolerated, but institutionalized within the medical and mental health systems.

                                            Staffing Shortages at SVSP

                    30.     During the morning meeting of my July 29, 2008 tour, Dr. Kahle, the Chief

             Psychologist, reported that SVSP has 12 vacant psychologist positions (of about 24) which it is

             able to fill with contract staff. She reported that there is one vacant psychiatrist position and two

             positions filled by contract staff. The Director of Nursing said that the nurse and psychiatric

             technician positions are almost full, but that there are not enough LVN positions allocated for the

             institution. With respect to staffing in general, SVSP reported to the Special Master in May of

             2008 that, “[h]iring of support staff remains a conflicting demand with no Recruitment and

             Retention to offer potential employees.” Coleman Pls’ Trial Ex. 138 at p. 2. SVSP also reported

             that “[s]taff turnover continues to be a problem” and that “Loss of Recruitment and Retention

             (R&R) pay differential causing continued difficulty in successful recruitment of state employees.

             With the loss of R&R comes loss of incentive to live in a remote isolated, non-urban small-town

             environment.” Id. CDCR chose to end the practice of paying extra bonuses to recruit clinicians

             to undesireable locations when the Coleman court raised salaries across the board.

                                            Impact of Excessive Lockdowns at SVSP

                    31.     My prior report also documented extensive lockdowns at SVSP that interfered

             with programming and mental health care. 11/9/07 Report at pp. 53-54. Staff reported during

             the morning meeting on my July 29, 2008 tour that some of those lockdowns improved in recent

             months, particularly on the C1 side of C-Yard, which houses 3CMS class members. On the day

             of tour, however, the entire yard was on modified program. I understand that there are eight


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             housing units on C-Yard, which are split evenly between the C1 and C2 sides. Chief Deputy

             Warden Liotta and Associate Warden Trexler explained that the C1 side was programming fairly

             well until an incident occurred the week before the tour. They both confirmed that the C2 side of

             the yard, however, continued to struggle with modified program status (meaning that inmates

             cannot go to their jobs, school, the library, yard, etc.). This was also confirmed when I spoke

             with Dr. Burkhardt on C-Yard. She reported that C-yard’s lockdowns interfere so much with

             programming that clinicians at SVSP are afraid to change classifications of class members from

             EOP to 3CMS. She explained that the programming would be so restrictive on the 3CMS C-

             Yard, that clinicians would opt to keep the patient at the EOP level so that he could at least

             continue to have some program.
                     32.     Dr. Burkhardt also talked generally about tensions she experienced with custody

             staff, including incidents whereby custody officers refused to escort patients out of their cells for

             her. The Special Master has also documented disturbing tensions between custody and mental

             health staff:

                     A pervasive and disturbing pattern of custodial dysfunction was apparent at
                     SVSP. Line officers and custodial supervisors assigned to 3CMS and EOP
                     buildings reportedly taunted inmates about mental disabilities, enforced rules
                     arbitrarily, restricted utilization of space set aside for mental health programs in
                     an inexplicable manner, and failed to properly manage the priority ducat system.
                     This dysfunction created tension and animosity between custody and mental
                     health staffs and discouraged inmate participation in treatment, thereby thwarting
                     access to mental health programs…The dysfunction reported in October 2007 had
                     grown more widespread, pronounced, and destructive to SVSP’s substantial and
                     expanding mental health mission [by the June 2008 monitoring tour].

             Joint Pls’ Trial Ex. 57 at pp. 188-198. These problems are disturbing and, in my opinion, may be

             another symptom of the extremely stressful working conditions in the overcrowded system.

                     33.      My prior tour report also documented my conversation with Dr. Williams, a

             clinician on C-Yard who told me that it typically took 10 months or a year to complete an 8-

             meeting group due to the extensive lockdowns on the yard. 11/9/07 Report at p. 22. I asked Dr.

             Burkhardt if this was still the case and she said that it was. Dr. Burkhardt also reported that she


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             had recently gathered monthly data about mental health groups provided on C-Yard which

             showed that those groups were cancelled 2 out of every 4 weeks.

                                           Lack of Adequate Treatment Space

                       34.   SVSP continues to struggle with adequate treatment and office space for mental

             and medical health services. Dr. Kahle explained during the tour that clinicians are forced to run

             40-50 percent of all EOP therapy groups outside on the yard due to space shortages. While the

             institution converted three rooms on the yard for group treatment, they are still not enough.

             Because 40-50 percent of the groups are held on the yard, SVSP loses all of those groups when

             there are custodial lockdowns or modified programs. Inclement weather is also presumably a

             factor.
                       35.   The D-5 and D-6 units also have significant space limitations. These units are

             designated as intermediate care facility beds for Level IV prisoners and are operated by DMH.

             They were always intended to be temporary, however, due to severe space shortages. When I

             toured the D-5 unit, there was a therapy group happening on the dayroom floor while other

             custody and clinical staff worked at nearby tables. This arrangement precludes privacy from

             both staff and other prisoners. Staff in the D-5 unit also use a converted dining room for all

             IDTT meetings, case manager contacts and other clinical contacts, although staff reported that

             additional group and interview rooms are supposed to be completed by the end of the year.

                       36.   The Chief Deputy Warden told me during the morning meeting that the institution

             submitted a plan for additional treatment space on A, B and C yards two years ago, but has not

             heard anything back from headquarters’ staff about that plan.

                                           Deficient Medication Distribution Practices at SVSP

                       37.    In my prior report, I documented significant problems with the medication

             management system at SVSP, as reported by two psychiatric technicians on C-Facility and by

             numerous inmate-patients who I interviewed. See 11/9/07 Report at pp. 61-62. I confirmed

             during my July 29, 2008 tour that the same medication practices are still in place, including the


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             “drive-by” distribution of medications in pill lines or cell-front. The failure of staff to speak with

             patients about side effects or the efficacy of the medications is seriously deficient in that staff

             members are not providing essential feedback to treating physicians about medication

             compliance, whether medications are having the desired effects and whether the patients are

             having side effects. This feedback is critical to basic psychiatric and medical care.

                     38.    In conclusion, SVSP displayed significant overcrowding-related problems that

             interfere with appropriate medical and mental health care, including significant problems with

             access to higher levels of care, staffing shortages, medication management and limited

             programming due to excessive lockdowns.

                                    (b)     California Medical Facility (CMF) Tour


                                            CMF Tour Overview

                     39.    I toured California Medical Facility (CMF) on July 30, 2008, although I also

             visited the prison many times between 1990 and 2000 when I was monitoring the Gates consent

             decree as a medical and psychiatric expert. According to the most recent CDCR weekly

             population report, as of midnight on August 6, 2008, CMF had a population of 3,056 and a

             design capacity of 2,297, for a population at 133 percent of capacity. Joint Pls’ Trial Ex. 65 at p.

             2. CMF is the least overcrowded institution in the entire 33-prison system. Id.

                     40.    CMF is the only prison that provides acute psychiatric hospitalization on its

             premises, although the acute units are operated by the Department of Mental Health (DMH).3

             CMF is also one of two prisons in the system (the other is Salinas Valley State Prison) that

             provides intermediate care facility (ICF) treatment (also through DMH) to prisoners housed in



             3
              Atascadero State Hospital (ASH) also provides acute (and intermediate care facility) inpatient
             beds to CDCR prisoners, but has struggled to fill those beds due in large part to staffing
             shortages and custodial restrictions. Although 256 inpatient beds (231 intermediate and 25
             acute) are supposed to be available to the Coleman class, ASH treated only 176 patients for the
             entire month of June 2008. Coleman Pls’ Trial Ex. 139 at p. 1. As of July 30, 2008, ASH had
             only 136 patients from CDCR. Joint Pls’ Trial Ex. 66 at pp. 5-6.

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             the CDCR. According to data provided to me during the morning meeting with staff, CMF

             housed 671 3CMS and 551 EOP patients as of July 28, 2008. This data does not include patients

             housed in DMH units and wings, however, and I did not receive DMH data on the tour. CMF

             also recently opened a 50-bed mental health crisis unit which is being run by the CDCR (not

             DMH). Staff reported that the unit opened on June 16, 2008 and there were 39 patients in the

             unit as of July 30, 2008. Staff also explained that the 50 new mental health crisis beds are not

             intended for use by CMF patients, but rather are available to other prisons throughout the system.

                                            Access to Higher Levels of Care

                    41.     The Special Master has repeatedly reported on the very limited access to DMH

             inpatient beds, including most recently in the draft 20th report: “DMH acute care resources for

             male inmates consisted of 130 beds at CMF and 25 beds at ASH, the latter of which re-opened to

             admissions in July 2007. Slow access, coupled with a growing wait list and increasing numbers

             of rescinded referrals, made it clear that these resources could not adequately accommodate

             CDCR’s expanding mental health population.” Joint Pls’ Trial Ex. 57 at p. 349. The Special

             Master also collected data about referring institutions during the 20th round in order to detail the

             delayed access to care:

                    Of the 18 prisons that referred inmates to the acute programs at CMF and ASH,
                    13 reported delayed access. The most commonly cited cases, and the longest
                    delays, were associated with referrals involving acutely psychotic inmates who
                    were not suicidal. Such referrals, considered low priority, were routinely placed
                    on a wait list and commonly rescinded by the institution. Other referrals,
                    involving inmates within 30 days of parole and inmates without parole dates,
                    were denied in accordance with DMH policy. Consequently, a large number of
                    referrals failed to result in transfer, despite a low rejection rate. The percentage of
                    acute care referrals that resulted in transfer was 40 percent for CSP/Sac, hovered
                    around 50 percent for CMC and RJD, and barely exceeded 60 percent at DVI and
                    WSP.

             Id. at pp. 349-350. In my opinion, DMH’s practice of designating acutely psychotic but non-

             suicidal patients as “low priority” admissions to acute beds is a direct consequence of




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             overcrowding. Clinicians would not be forced to turn acutely psychotic patients away at the door

             in a system that had sufficient inpatient beds.

                     42.    Sterling Price, the acting Director of DMH Programs at SVSP and CMF, reported

             that the ICF waitlist for level IV beds was up to 171 patients and that the acute waiting list was

             15 as of July 30, 2008, but had been as high as 45 on July 1, 2008. I visited the S2 unit (among

             others) during the tour, which currently has 20 mental health crisis beds for use by CMF inmates

             and 10 acute beds that are available to the entire system. Mr. Price reported that the unit had 37

             referrals in June of 2008, but had a high of 52 referrals back in December of 2007. When beds

             are not available in this, and presumably other units, Mr. Price reported that referred inmates

             either stay in their EOP units or go to observation cells. As I heard from staff at SVSP as well,

             referrals on the weekend are especially hard due to limited staffing during that time. This

             information is consistent with the Special Master’s general findings that there is poor access to

             acute and intermediate care facility beds in this overcrowded system.
                     43.    The insufficient access to higher levels of care has created a system which is

             overwhelmed by the acuity of its patients at every level of care. EOP units house many patients

             in need of inpatient care, MHCB’s house patients in need of inpatient hospitalization,

             intermediate care facility units house many patients in need of acute hospital care and so on.

             When and if these patients finally reach the level of care they require, their mental health

             conditions may be far more serious, resulting in longer stays and more resources in order to

             stabilize and get well.4

                     44.    My interview with Coleman Class Member TTT illustrates some of these

             problems. I interviewed Class Member TTT in the S1 unit at CMF, which houses men with



             4
              It is also apparent from the chaos of the system that the inverse problems happens—patients
             sometimes stay in higher levels of care than they require due to the logjam in the system. The
             Monthly Bed Utilization Report for the DMH Hospitals and Psychiatric Programs for June 2008,
             for instance, lists eight patients who are currently housed in acute beds while they wait for an
             ICF (a lower level of care) bed to open. Coleman Pls’ Trial Ex. 118, Patients 608, 658, 670, 673,
             694, 696, 759, and 760.

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             acute mental illness. Although Class Member TTT had been housed in the acute unit for nearly

             six months at the time I saw him, he was floridly psychotic, with unintelligible thought

             processes. According to his file, he was prescribed a 300 mg. daily dose of Clozaril, which I

             refer to as the “atomic bomb” of antipsychotic medications because it is a medication of last

             resort that has the potential to effectively shut off a patient’s bone marrow if it is not very closely

             monitored with weekly or bi-weekly blood draws. Class Member TTT demonstrates the very

             severe acuity of some Coleman class members in that he continues to display active psychosis

             even after 6 months of acute care, including treatment with very powerful anti-psychotic

             medication. It was also apparent to me that he will require an acute level of care for a long

             period of time, thereby consuming a very valuable resource within the CDCR’s overcrowded

             system. According to the DMH Monthly Bed Utilization report, he also waited at MCSP for

             nearly a month (between 1/8/08 and 2/6/08) for an acute bed. Coleman Pls’ Trial Ex. 118,

             Patient 127.
                    45.     I also interviewed another class member in an acute unit at CMF who, in my

             opinion, is also going to require a significant stay at that level of care. Class Member UUU was

             admitted into the acute unit on July 11, 2008 from administrative segregation, according to his

             medical file, although the file also showed another admission into the acute unit from

             administrative segregation on June 23, 2008. The file said he was diagnosed with Schizophrenia

             and Personality Disorder NOS, however his June 3, 2008 “Mental Health Treatment Plan” lists

             the following diagnoses: Schizophrenia, Paranoid Type; Major Depressive Disorder, Severe

             with Psychotic Features; and Schizotypal Personality Disorder. His medical file also showed a

             significant history of bizarre behavior, including pouring water over cell mates for “sacrificial

             purposes.” His “Mental Health Treatment Plan” reflects a history of suicide attempts, cutting,

             violence and sexual victimization from childhood. Coleman Pls’ Trial Ex. 140 at p. 1. The chart

             also notes that he has difficulty with female staff and that he has catatonic periods. Id. A

             clinician on the unit told me that Class Member UUU had a significant history of inpatient

             placements at DMH and Atascadero State Hospital. His file reflected that he was prescribed the


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             following medications: Haldol Decanoate (150 mg. every 4 weeks); Abilify (30 mg. daily dose);

             Prozac (60 mg. daily dose); Cogentin (2 mg. daily dose); Benadryl (50 mg. daily dose) and

             Valproic Acid (2000 mg. daily dose). In my opinion and based on Class Member UUU’s clinical

             presentation and mental health history, he was probably prematurely discharged back to

             administrative segregation in late June to early July of 2008, which lead to his readmission into

             the unit on July 11th. It is also my opinion that he will require an acute level of care for a

             significant amount of time in light of the severity of his mental illness.

                    46.     I also interviewed two class members in an ICF unit who, in my opinion, need

             acute care (see pp. 43-44 of this report regarding Class Members DDDD and EEEE), a class

             member who requires intermediate care, but has been housed in an EOP unit for more than six

             months waiting for an open bed (see pp. 42-43 of this report regarding Class Member FFFF), and

             a class member who was about to be prematurely discharged from an ICF bed back to EOP (see

             p. 41 of this report regarding Class Member BBBB).

                                            Medication Management Problems

                    47.     Every class member I spoke with about medications, including class members at

             CMF, reported that medications were distributed very quickly by line staff who never asked

             about either the efficacy of the medication or potential side effects. The Special Master also

             documented significant failures with CMF’s ability to manage patient medications:

                    CMF staff at all levels reported that medication management was a broken
                    system. Problems included continuity of medication when inmates were moved
                    between housing units, handling medication non-compliance, medication errors,
                    implementation of DOT orders and considerable variation in the quality of
                    documentation on MARs. Many inmates who were interviewed reported that they
                    frequently received the wrong medication. Some inmates reported that they had
                    to choose whether to go to yard or stay inside in order to receive medication,
                    while others had difficulty getting medication during scheduled work
                    assignments. Staff confirmed that medication errors included wrong medication,
                    wrong recipient and wrong time of administration.

             Joint Pls’ Trial Ex. 57 at p.78.



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                     48.    In my experience, these kinds of medication problems are common in

             overcrowded systems. Line staff are overwhelmed by the volume of medications to distribute,

             psychiatrists carry large caseloads of patients, and staffing shortages mean that temporary or

             contract employees are distributing medications in facilities and to patients that they do not

             know.

                                           Insufficient Office and Treatment Space

                     49.    CMF also struggles with serious space issues. It is an old-style prison that

             consists of a series of long, narrow units that run perpendicular to the main corridor. The prison

             was constructed at a time when there was no inclusion of treatment space or even offices for

             staff. As a result, treatment space is very limited and staff members frequently have to juggle

             their schedules and patients in order to complete groups, case manager contacts and other client

             contacts. I observed these problems first-hand in several units at CMF. In the S1 unit, for

             instance, staff explained that they use the same single room for treatment team IDTTs, case

             manager contacts, psychological testing, all patient groups and to conduct admissions into the

             unit. As we moved throughout other DMH units, we learned that these severe space restrictions

             are common in nearly every unit off the main corridor, including in S2 (which has 30 MHCB and

             acute beds), Q2 (which has 30 acute beds), and the P-3 unit (which has 30 ICF beds). When we

             visited the Q2 unit in particular, four staff members had to be kicked out of the room we used for

             confidential interviews with class members. In the A2 unit, which houses the Day Treatment

             Program and also has only one room for all clinical and other contacts, I was struck by the

             number of men housed in their cells in the middle of the day. When I asked Dr. Noorani, a

             psychiatrist in the unit, why so many men were in their cells in the middle of the day, he

             explained that they had to cancel a group so that I could use the one available room for

             interviews.

                     50.    The treatment and office space limitations are also severe for the CDCR mental

             health programs at CMF. I spoke with a clinician who works in the M2 unit (an EOP unit), for



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             instance, who reported that there was no interview space available for staff and that the one

             available room must be shared with 4 or 5 other clinicians who frequently walk in and out of the

             room. In fact, the defendants recently submitted a plan to the Coleman court admitting

             significant treatment and office space shortages in the L, M, and N-wings for EOP patients and

             proposing to build 16 group therapy rooms, 28 interview rooms, 4 recreational therapy rooms, 6

             education classrooms and “appropriate support space for staff.” Coleman Pls’ Trial Ex. 59 at p.

             4. CMF does not propose to start construction of these spaces until 2010, however, and does not

             anticipate completion until 2012 at the earliest. Id.
                    51.     In my opinion, these space limitations are directly related to overcrowding. While

             the infrastructure of CMF is antiquated and inadequate, there is no question that there are simply

             too many people housed at the prison. The 20-person dorm spaces in units J1, J2 and J3, are a

             good example. Those units used to be dining rooms, but were converted to dorm housing spaces

             because of overcrowding. If the population were lower, spaces such as J1 could be used as

             programming areas, treatment spaces, or staff offices. The impact of these conditions on mental

             healthcare is significant—mental health assessments, case manager contacts and psychiatrist

             meetings are frequently done in non-confidential settings where other staff members and even

             other inmates may be around. Having one room available for all mental health contacts also

             necessarily means that groups and other contacts will be canceled when more intakes than usual

             are processed into a unit, when clinical sessions run overtime or when there are security or other

             incidents on the unit. My visit, in fact, resulted in the cancellation of at least one group at CMF.

                                            The Use of Dorm Housing at CMF

                    52.     Although CMF is one of the least overcrowded institutions in the system (133

             percent of capacity based on population data as of August 6, 2008), it still has overcrowded dorm

             housing units. I toured the J1 unit, for instance, which has approximately 150 men split between

             8, 12 and 20 person dorms. Although I did not personally tour units J2 and J3, I was informed

             that they are identical to the J1 unit. Although the J1 unit has smaller dorms than places like the



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             gym dorms at MCSP, these units are difficult places for people with or without mental illness to

             live because they do not afford any personal privacy. These settings also may exacerbate mental

             health conditions such as paranoia and create stressful environments for people who are

             otherwise vulnerable due to mental health issues, including cognitive impairments.

                    53.     Overall, CMF provides a good glimpse into systemic problems of accessing

             higher levels of care, medication management and crowded office and treatment space issues.

                                    (c)    Mule Creek State Prison (MCSP) Tour


                                           MCSP Tour Overview

                    54.     I toured Mule Creek State Prison (MCSP) on August 1, 2008. According to the

             most recent CDCR weekly population report, as of midnight on August 6, 2008, MCSP had a

             population of 3,687 and a design capacity of 1,700, for a population at 216.9 percent of capacity.

             Joint Pls’ Trial Ex. 65 at p. 2. Mule Creek State Prison, unlike CMF and SVSP, does not have

             any DMH-run inpatient beds. It does have a large mental health population, however, including

             526 EOP and 1,178 3CMS patients as of July 29, 2008. Coleman Pls’ Trial Ex. 62. Because

             MCSP has capacities of 999 for its 3CMS and 510 for its EOP populations (Coleman Pls’ Trial

             Ex. 57 at p. 2—showing 3CMS and EOP capacities) it was operating at 118 percent of its 3CMS

             capacity and 103 percent of its EOP capacity. MCSP also houses a significant number of its

             3CMS inmates in overcrowded gyms as follows: 225 3CMS between 3 yards (73 in A-gym; 80

             in B-gym and 72 in C-gym). Coleman Pls’ Trial Ex. 62.

                                           Lack of Access to Higher Levels of Care, Including the
                                           Housing of Suicidal Inmates in MHOHUs and
                                           Administrative Segregation Units

                    55.     Because MCSP does not have ICF or acute beds, its biggest issue is providing

             adequate MHCB access to men who are suicidal or otherwise in crisis. During the morning

             meeting, both the Warden and the head registered nurse reported that the institution’s MHCBs

             are almost always full and that while they are theoretically available to prisoners from other



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             institutions, they did not know of even one admission from an outside prison. Staff also reported

             that the overflow units to the MHCBs are also almost always full, including the cells set aside as

             the Mental Health Outpatient Housing Unit (MHOHU) and five administrative segregation cells

             on C-yard.

                    56.     The Chief Psychiatrist, Dr. Fowler, candidly talked about problems getting men

             into crisis beds and inpatient beds run by DMH. He said that it takes a lot of paperwork to do a

             DMH referral and significant staff time, which he estimated as 5-7 hours. I asked him if these

             problems resulted in fewer referrals to DMH and he said that they do. He said that staff

             sometimes opt to initiate the Keyhea process (to involuntarily medicate patients) rather than refer

             them to an inpatient bed. Dr. Fowler also told me that he prefers to keep some men at MCSP

             rather than refer them to DMH beds for “continuity” of care purposes. He admitted that this

             means he sometimes uses the MHCB unit to provide acute care. The data provided by MCSP

             shows that the institution admitted 42 patients into crisis beds during the three month period

             between April 1 and June 30, 2008. Five of the admitted patients stayed a combined 13 extra

             days due to administrative reasons, which were described as “medical quarantine, institutional

             emergency, cell unavailability due to overcrowding or custody unavailable to complete

             transport.” Coleman Pls. Trial Ex. 141 at p. 2. When Dr. Fowler does not have open beds in the

             MHCB unit, he uses six cells designated as the MHOHU and then 5 administrative segregation

             cells if the MHOHU cells are full.

                    57.     The Special Master has grave concerns about the systemic use of alternative

             placements due to shortages of mental health crisis beds. In his 20th monitoring report, he wrote:

                    Fourteen institutions that did not have adequate access to licensed crisis beds
                    resorted to using a variety of temporary monitoring arrangements, most of which
                    were grossly inappropriate alternatives to acute care. Despite having 26 CTC
                    beds and a 20-bed MHOHU, CSP/Sac referred inmates in holding cells for up to
                    eight hours, held half of all MHOHU admissions for longer than 72 hours, and
                    transferred 33 inmates to MHCB units in other prisons. MCSP used six MHOHU
                    beds and five observation cells in administrative segregation to monitor inmates it
                    was not able to admit to its eight-bed MHCB unit. CSP/LAC, KVSP, NKSP,
                    SVSP, and WSP, all with licensed CTCs, routinely used holding cells and tanks to

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                    monitor inmates for whom MHCBs were not available. CCI, CIM, and DVI used
                    alternative sites to monitor inmates for whom OHU beds were unavailable. OHU
                    admissions at ASP, CRC, CTF, SCC, and SQ routinely exceeded 72 hours
                    because inmates were not timely referred and/or transferred to MHCB units.

             Joint Pls’ Trial Ex. 57 at p. 352-353. The Program Guide specifies that patients should not be

             housed in OHUs for longer than 72 hours except in limited circumstances. Joint Pls’ Trial Ex. 9

             at p. 12-5-28.
                    58.       The Mental Health Outpatient Housing Unit (“MHOHU”) at MCSP is a

             disturbing example of one of the overflow units to which the Special Master refers. The

             MHOHU is in a fenced-off area within an administrative segregation unit at MCSP. Staff

             reported during the morning meeting at MCSP that the MHOHU cells are usually full. Data

             provided during the tour showed that there were 125 patients admitted to the MHOHU between

             April 1st and June 30th of 2008, 33.6 percent of whom stayed in the MHOHU for longer than 72

             hours. Coleman Pls’ Trial Ex. 142 at p. 4. During my tour on August 1, 2008, four of the six

             cells were occupied by men who had been housed there, according to notes on their doors, for

             between one and eight days. The cells themselves are small, concrete rooms that are often

             completely bare aside from a small toilet and sink. In fact, two of the men I saw in these cells

             were wearing nothing but suicide smocks and had no mattress or blanket. They told me that they

             do not get a mattress or a blanket even during the night while they are sleeping, forcing them to

             sleep on the cold, concrete floor wearing only a suicide smock. The man who had been in the

             MHOHU for 8 days was lucky enough to have a one inch plastic-coated mattress, but reported

             that he slept on the bare concrete floor in a suicide smock and without a blanket for the first 7

             days he was there.
                    59.       The MHOHU cells at MCSP do not constitute anything even approaching an

             acute level of care. Attached to this report as Appendix D are pictures of a MHOHU cell that I

             saw during my tour. To the contrary, the conditions found in the MHOHU are likely to

             exacerbate many patients’ clinical conditions and will ultimately dissuade people from

             communicating candidly with their doctors about their mental health conditions. My interviews



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             with two men who were currently in the MHCB unit, but who had spent time in the MHOHU

             support these opinions. One of those men (Class Member VVV) was wearing a suicide smock

             when I interviewed him and told me that he became so upset about being placed in the MHOHU

             without a mattress or a blanket that he smeared feces in his cell.5 The paperwork in his file

             confirmed this account. Class Member WWW, the other patient I interviewed in the MHCB

             unit, told me that he did not like the MHOHU, primarily because he was forced to sleep on a

             concrete floor without a blanket or a mattress. See Appendix D.

                     60.    While it is essential that staff be vigilant about suicide precaution measures,

             which may include removing items like underwear, non-safety blankets and other clothing items,

             the conditions in the MHOHU are so extraordinarily harsh that they risk inhibiting people from

             coming forward about their mental health conditions. This, in turn, hampers mental health

             staff‘s ability to fully evaluate and treat their patients. It is my experience that word travels

             quickly among inmates about deplorable conditions they experience. This results in prisoners

             not reporting the extent of their suicidality out of fear of being housed in places like the

             MHOHU.
                     61.    Yet the MHOHU placements are not the only overflow beds for the MHCB unit at

             MCSP. Mule Creek also sets aside 5 administrative segregation cells in the same cordoned off

             area where the MHOHU cells are located. They are therefore overflow to overflow cells in that

             they house people who have been referred for mental health crisis care but who cannot be housed

             in either a MHCB or a MHOHU bed. The Special Master found the following problems with

             respect to the five administrative segregation cells: “The institution did not track the number or

             duration of placements in these cells. Inmates placed in the holding cells were reportedly

             monitored by custody staff on a one-to-one basis until they were either admitted to an MHCB or


             5
              When persons with mental illness smear feces, it is most likely due to acute, untreated
             psychosis. It can also be associated with people who are psychotic because of a serious mood
             disorder such as Bipolar Disorder, Manic and Schizoaffective Disorder, Manic. This behavior is
             also seen in individuals who have severe cognitive impairments such as mental retardation and
             dementia due to medical conditions.

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             returned to their cell in administrative segregation. Inmates placed in holding cells in

             administrative segregation reportedly received daily clinical contacts, most of which occurred

             cell-front. Contacts routinely occurred without the inmate’s UHR, as the medical records for

             inmates retained in the observation cells were stored in the TTA of the CTC.” Joint Pls’ Trial

             Ex. 57 at p. 62.

                    62.     Again, these overflow units are a direct result of overcrowding and represent the

             system’s desperate and inadequate attempt to deal with a significant deficiency of inpatient beds.

             In fact, MCSP notified the Director of Mental Health for the Division of Correctional Health

             Care Services back in October of 2006 that 8 crisis beds were wholly inadequate for the October

             2006 census of 265 EOP patients and that increasing the EOP population would seriously impede

             the provision of mental healthcare: “By doubling our EOP population without increasing acute

             care capacity the department would be taking an acute care program that is already too small for

             our current census and further overloading it…Failure to have adequate acute care capacity

             increases the risk of suicide and medical (mental health) negligence for our entire facility.”

             Coleman Pls’ Trial Ex. 143 at p. 1. Despite these warnings, MCSP’s EOP population as of July

             29, 2008 was 526 patients (261 patients more than MCSP had when it issued the memorandum

             to headquarters staff warning that eight MHCBs were wholly inadequate).

                                            The Significant Use of “Bad Beds” at MCSP

                    63.     In addition to the disturbing MHOHU and administrative segregation placements

             of acutely ill class members, MCSP also generally houses many inmates in temporary “E-bed”

             placements in either converted gymnasiums or dayroom floors of housing buildings. As of July

             1, 2008, MCSP had 729 of these “non-traditional,” bad beds. Joint Pls’ Trial Ex. 68 at p. 7.

                    64.     For instance, I toured the gyms on the A and B yards of the facility. I understand

             that these buildings at one time acted as real gymnasiums, but that they have been used for

             housing in recent years due to overcrowding. Staff members in the gym on B-yard informed me

             that they have a capacity of 160 men, and that the gym was full on the day of my tour. The data



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             MCSP provided to us in the morning showed that 80 Coleman class members were housed in

             this gym as of July 29, 2008, all at the 3CMS level of care. Coleman Pls’ Trial Ex. 62. The

             large room consists of multiple rows of triple bunks, although staff informed me that they had

             been able to empty out some of the middle bunks in recent weeks or months. Pictures of the B-

             yard gym are attached to this report as Appendix E. I spoke with a Coleman class member at

             the 3CMS level of care and asked him what it was like to live in the gym. He said that

             conditions can be very stressful, which breeds anger among the men and tends to worsen one’s

             mental health symptoms.
                    65.     I also toured the gym on A-yard during my visit to MCSP. Pictures of the A-yard

             dorm are attached to this report at Appendix F. The A-yard gym is the worst living space I have

             seen in any correctional system, including even the H-dorm at Solano. There were nearly 200

             men housed in rows of triple bunks, including on all of the middle bunks as far as I could tell.

             According to the MCSP data, 73 Coleman class members were housed in the gym as of July 29,

             2008, all of whom were at the 3CMS level of care. Coleman Pls’ Trial Ex. 62. One row of beds

             was placed at an angle and there was virtually no visibility for staff or other inmates to see

             around corners or down the rows of beds. I talked to several men in this gym who reported that

             they were often unable to sleep at all in the gym and that the living conditions are made even

             worse by the fact that they have no privacy at all.

                    66.      Placing inmates in overcrowded gym and dorm settings is often inappropriate for

             people with mental health issues and can either exacerbate existing symptoms or, in some cases,

             trigger symptoms in people who would not otherwise display them. The Special Master also

             noted this as a problem in his 20th round report: “Interviewed inmates reported, and many of the

             higher quality progress notes documented, the underlying stress, anxiety and frustration

             associated with inmate movement in and out of E Beds and triple-bunked dorms.” Joint Pls’

             Trial Ex. 57 at p. 68. In my experience, crowded living spaces that afford no personal privacy

             breed anxiety, fear and sometimes violence. For 3CMS inmates who are routinely triple-bunked

             in chaotic, overcrowded dorms, this means they may experience damaging levels of stress and


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             fear of predation, as well as sleep deprivation. These conditions exacerbate mental illness and

             are serious barriers to the provision of minimally adequate mental health and medical care.

                                            Medication Management Problems

                    67.     The Special Master found the following with respect to MCSP’s medication

             management system during the 20th round: “[C]ontinuity [of medications] during intra-facility

             transfers worsened during the monitoring period, with audits yielding a compliance rate of 75

             percent…recorded noncompliance prompted referral to mental health only 59 percent of the time

             and less than half of referrals submitted for noncompliance generated contact within seven

             calendar days.” Joint Pls’ Trial Ex. 57 at p. 59.
                    68.     I also observed significant problems with MCSP’s medication management

             practices during my tour on August 1, 2008. The men I interviewed at the institution, for

             instance, all described the same “drive-by” distribution of medications by line staff. They

             universally reported that medications are distributed within a matter of a few seconds by staff

             members who do not ask about either the efficacy of the medications or potential side effects the

             patients might be having. The basic provision of adequate psychiatric care necessarily depends

             on information-sharing between line staff and doctors who prescribe the medications. Dr.

             Fowler, the Chief Psychiatrist at MCSP, candidly told me during my tour that there are “no

             outcome measures at all” that permit psychiatrists to know whether intervention measures are

             having any effect. The inability of overburdened line staff to adequately monitor medication

             management at MCSP is one example of the failure to monitor and assess outcome measures.

                    69.     I also learned from inmates waiting in a yard pill line at MCSP that they cannot

             receive Wellbutrin because staff fear they will abuse it. If this is true, the removal of Wellbutrin

             from the formulary is, in my opinion, an admission that line staff are unable to appropriately

             monitor medication distribution and compliance. If appropriate monitoring could be achieved,

             there would be no reason to worry about hording or abuse. The resulting restriction on this




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             medication, which is highly effective in treating a variety of mental health conditions, hampers

             psychiatrists’ ability to appropriately provide care to their patients.

                                            Problems with MCSP’s EOP Program

                    70.     The Special Master also documented significant problems with MCSP’s EOP

             program during his 20th round of tours: “Internal audits yielded 60 percent compliance rates for

             bi-weekly case manager contacts during the second and third quarters of 2007. Noncompliance

             was attributed to the extra intake work for case managers associated with the program’s rapid

             expansion, excessive case manager caseloads, inadequate clinical supervision and an overall lack

             of cooperation from custody officers. Case manager contacts continued to occur in cubicle

             spaces on the day room floor, which afforded inadequate auditory and visual privacy.” Joint Pls’

             Trial Ex. 57 at p. 65. In my opinion, the expansion of MCSP’s EOP program is directly related

             to overcrowding and the system-wide shortage of EOP beds.

                            2.      Updated Information Regarding Overcrowding-Related Violations at
                                    Institutions I Previously Toured

                    71.     There were also two institutions, DVI and Solano, that I previously toured in

             October and November of 2007, but that I did not return to during my recent round of site

             inspections. I did, however, review updated information about these institutions from various

             sources including the Coleman Special Master’s monitoring reports, Defendant Cate’s Responses

             to Second Set of Interrogatories from Plaintiff Coleman, and other documents. It is my opinion,

             based on this updated information, that there have been no material changes regarding the

             provision of inadequate medical and mental healthcare at either DVI or Solano and the effects of

             extreme overcrowding on these prisons.

                    72.     The overall level of overcrowding in the system remains at critical levels. As of

             August 6, 2008, CDCR’s prison and camp population was at 160,334, with a design capacity of

             84,066. The prison system is still operating at 190.7 percent of design capacity. Joint Pls’ Trial

             Ex. 65 at p. 1. As of October 31, 2007, the time I made my initial tours of the prison for this



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             trial, CDCR institution population was 160,273 with a design capacity of 78,698. The prison

             system was then operating at 198.6 percent of design capacity. Joint Pls’ Trial Ex. 25 at p. 1.

             There has been no more than a symbolic change in the level of overcrowding since my fall 2007

             tours and almost all of the change can be attributed to an increase in the number of prisoners

             housed in private, out of state prisons. As of October 31, 2007, 1,673 prisoners were housed in

             Arizona, Mississippi and Tennessee. Joint Pls’ Trial Ex. 25 at p. 1. By August 6, 2008, 4,614

             prisoners were housed out of state and Oklahoma was added to the list. Joint Pls’ Trial Ex. 65 at

             p. 1.

                                    (a)     Deuel Vocational Institute (DVI) Update

                     73.    I toured Deuel Vocational Institute (DVI) on October 29, 2007 and documented

             my findings in my November 9, 2007 report. 11/9/07 Report at pp. 29-45. As stated in my prior

             report, DVI’s population as of midnight on October 24, 2007 was 3,855 with a capacity of 1,627,

             meaning that the population at that time was 236.9 percent of capacity. Id. at p. 29. As of

             midnight on August 6, 2008, DVI’s population was 3,811 with a capacity of 1,681, meaning that

             the population is at 226.7 percent of capacity. The Reception Center at DVI is the most

             overcrowded part of the prison, housing 3,134 prisoners in space designed for 1,187, a shocking

             264 percent of capacity. Joint Pls’ Trial Ex. 65 at p. 3.

                     74.    As of June 20, 2008, the mental health caseload population at DVI was 857, with

             765 CCCMS and 92 EOP. At the time of my tour, the mental health population was 933, but

             with only 54 EOP inmates. Although the mental health population has decreased slightly, the

             EOP population has almost doubled. Seventy of these EOP inmates were in the Reception

             Center as of June 20, 2008. Coleman Pls’ Trial Ex. 57 at p. 2.

                     75.     Since my November 9, 2007 report, the Special Master issued a report from his

             20th round tour at DVI, which took place on October 2-4, 2007. The issues identified by the

             Special Master confirmed many of the observations I made in my report.




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                    76.     The Special Master found that there were substantial problems with access to

             higher levels of care at DVI, leading to use of overflow beds that were “isolated and poorly

             suited for acute psychiatric patients.” Joint Pls’ Trial Ex. 57 at p. 115. As I noted in my report,

             housing suicidal patients in harsh, dirty, and noisy overflow units is a very dangerous practice.

             There were also delays in psychiatric responses to referrals. Joint Pls’ Trial Ex. 57 at p. 122-123.

                    77.     The Special Master also reported on the serious problems with medication

             management that I observed.

                    Problems persisted in all areas of medication management, although
                    methodologically flawed audits rendered it impossible, in most cases, to ascertain
                    the magnitude of noncompliance or to identify the underlying causes. Medication
                    continuity upon arrivals and transfers within the institution remained poor, as did
                    the institution’s response to medication noncompliance. The institution had not
                    taken steps to remedy deficiencies noted during the preceding site visit relative to
                    ordering DOT in response to medication cheeking, hoarding, and overdose. An
                    audit of distribution of parole medications was too small to produce meaningful
                    results.

             Joint Pls’ Trial Ex. 57 at p.112-113. The Special Master also reported that “protocols for

             monitoring blood levels of inmates prescribed mood-stabilizing medications were not working.

             From July 20 to September 19, 2007, more than half, or 75 of 134 ordered labs were not drawn

             for unknown reasons. In addition, UHRs reviewed by the monitor and chief psychiatrist during

             the site visit indicated that blood work was not always ordered when indicated. None of the
             reviewed UHRs belonging to EOP inmates contained required lab reports for currently

             prescribed medications.” Joint Pls’ Trial Ex. 57 at p. 113.

                    78.     I have reviewed Defendant Cate’s Response to Second Set of Interrogatories from

             Plaintiff Coleman, dated August 8, 2008. In response to questions about any improvements

             made in the ability of CDCR to house inmates at appropriate levels of mental health care,

             changes in the amount or quality of office space for mental health clinicians, and changes in the

             amount or quality of treatment space, the only change identified at DVI was a vague change to a

             “medical office.” It is my opinion that any change DVI makes to a medical office will not be



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             sufficient to materially alter that delivery of mental health care to the overcrowded population

             still housed at the prison.

                                     (b)   California State Prison - Solano Update

                     79.     I toured Solano State Prison on October 31, 2007 and documented my findings in

             my November 9, 2007 report. 11/9/07 Report at pp. 45-50. As stated in my prior report,

             Solano’s population was then 6,051 with a design capacity of 2,610, for a population at 231.8

             percent of capacity. 11/9/07 Report at 45. As of midnight on August 6, 2008, Solano’s

             population was listed as 5,658 with a capacity of 2,610, meaning that the population is at 216.8

             percent of capacity. Joint Pls’ Trial Ex. 65 at p. 2. The prison obviously remains dangerously

             overcrowded.
                     80.     As of June 20, 2008, the mental health caseload population at CSP-Solano was

             1,552, with 1,541 CCCMS and 11 EOP. Coleman Pls’ Trial Ex. 57 at p. 3. This is a similar

             population to that during my tour, which was 1,517 CCCMS and 10 EOP class members.

                     81.     The Special Master’s report on this 20th round tour, which occurred on December

             4-6, 2007, confirmed the observations I made during my tour. There were serious problems with

             medication administration, symptomatic of severe overcrowding and understaffing. The Special

             Master reported that, “[f]aced with chronic psychiatric vacancies, CSP/Solano continued to rely

             on contract psychiatrists. Treatment continuity was poor in that many inmates rarely saw the

             same psychiatrist from one visit to the next. The institution did not audit unexplained and

             unwarranted medication changes, the subject of a CAP item, and lacked the permanent staff to

             perform psychiatric peer review. Consequently, it could not be determined if poor treatment

             continuity continued to be associated with unexplained, unjustified, and unwarranted changes in

             medications.” Coleman Pls’ Trial Ex. 57 at p. 95.

                     82.     I have reviewed Defendant Cate’s Response to Second Set of Interrogatories from

             Plaintiff Coleman, dated August 8, 2008. Defendants did not identify any changes at CSP-

             Solano in response to questions about any improvements made in the ability of CDCR to house



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             inmates at appropriate levels of mental health care, changes in the amount or quality of office

             space for mental health clinicians, and changes in the amount or quality of treatment space. Joint

             Pls’ Trial Ex. 66.

                            3.      Evidence Concerning Systemic, Overcrowding-Induced
                                    Constitutional Violations

                    83.     There is substantial evidence in recent reports issued by the Plata Receiver and

             the Coleman Special Master, and in other sources of evidence I reviewed in connection with my

             preparation of this report, that the overcrowding-induced problems I personally observed at

             SVSP, CMF, MCSP, DVI, and SOL are also affecting the delivery of medical and mental health

             care at prisons system-wide. These system-wide problems affect almost every one of the critical

             components of a constitutionally-adequate mental health care system that were identified by the

             Coleman court in its July 23, 2007 Order. See 7/23/07 Order at 4 (describing the key elements of

             a constitutional mental health system as identified in the Coleman Court’s decision on the merits

             of this case in 1995 in Coleman v. Wilson, 912 F. Supp 1282, 1305 (E.D. Cal. 1995)).
                    84.     It was my opinion previously and remains my opinion now, that the CDCR is a

             severely overcrowded system. According to its most recent monthly population report, there

             were 160,334 prisoners housed within the state’s 33 prisons and camps as of midnight on August

             6, 2008, with Avenal State Prison the most overcrowded (235.9 percent) and California Medical

             Facility the least overcrowded (133 percent). Joint Pls’ Trial Ex. 65 at p. 1-2. The current

             overall population is operating at 190.7 percent of its design capacity (84,066). Id. at p. 1.

                    85.     In his 7th Quarterly report, the Receiver documented ongoing and serious

             problems with the medical care systems. With respect to the system as a whole, he wrote:

                    Accomplishing the mission [of the Receivership], however, is a huge challenge
                    only because of the current chaotic state of CDCR’s medical delivery system.
                    Timely access is not assured. The number of medical personnel has been
                    inadequate, and competence has not been assured. Accurate and complete patient
                    records are often not available when needed. Adequate housing for the disabled
                    and aged does not exist. The medical facilities, when they exist at all, are in an
                    abysmal state of disrepair. Basic medical equipment is often not available or used.


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                    Medications and other treatment options are too often not available when needed.
                    Custody resources needed to facilitate access to care and provide the security
                    necessary to deliver health care safely in a prison setting are inadequate, lacking
                    both the personnel and structure to ensure timely access to health care services.
                    Thus the remedial actions necessary to fix these problems are far from simple.
                    Indeed, it is a misnomer to call the existing chaos a “medical delivery system”—it
                    is more an act of desperation than a system.

             Joint Pls’ Trial Ex. 67 at p. 5. The Receiver and the Special Master also documented numerous

             other systemic problems, including medication management issues, problems with medical

             records, serious delays in access to higher levels of care, staffing shortages, and lack of adequate

             office and treatment space.

                                    (a)     Systemic Problems with Seriously Delayed Access to Higher
                                            Levels of Care

                    86.     Perhaps the most disturbing and direct result of severe overcrowding is the

             terrible shortage of inpatient beds for Coleman class members. I am aware that the Special

             Master and the Receiver have been very concerned about this issue for some time. The Receiver

             documented the shortages in his 8th Quarterly Report, which was issued in June of 2008:

                    At present, there exist serious shortages of mental health inpatient beds (including
                    a waiting list of 162 for long-term intermediate care hospitalization). At present,
                    CDCR simply does not have anything near adequate mental health treatment
                    facilities for prisoners with serious mental health problems.

             Joint Pls’ Trial Ex. 56 at p. 48. The Receiver then discussed a recent death in a California prison

             that he attributed directly to this serious shortage of inpatient mental health beds:

                    Patient B was a 36 year old male diagnosed with Hepatitis C antibody positive,
                    paranoid schizophrenia, history of head trauma, borderline intellectual functioning,
                    antisocial personality disorder, and history of substance abuse. Incarcerated
                    continually since 1994, Patient B has been, in the past, admitted to both mental
                    health crisis housing and administrative segregation housing. These placements
                    were for safety concerns. Because of his mental health problem, Patient B was
                    vulnerable to victimization when housed in “general population.” He was last
                    housed in general population, however, and also double-celled. On November 26,
                    2007, Patient B was found in his cell unresponsive with multiple wounds about the
                    head, weak pulse, agonal breathing and fixed dilated pupils. He was transferred to a



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                     local hospital, determined to be brain dead, and care subsequently withdrawn.
                     According to CDCR officials, Patient B had been beaten to death by his cellmate.

             Id. at p. 48.
                     87.     The Coleman Special Master also documented serious problems with access to

             higher levels of care during his 19th and 20th round monitoring tours:

                     Access to higher levels of mental health care at the DMH level remained slow. In
                     addition, the ongoing need for sufficient MHCBs continued to challenge the
                     institutional capacity to provide crisis care. Inmates’ overly long stays in
                     institutional OHUs and MHOHUs and their placements in holding areas reflect
                     not only the continuing need for more MHCBs, but also the deferred access to
                     inpatient levels of care needed by the more severely mentally inmates. For
                     several years the defendants have been struggling with assessing their mental
                     health bed needs, particularly at the most intensive levels of care, and developing
                     a responsive long-term plan. Undoubtedly, the task has been challenging, for no
                     less reason than the shifting nature of many conditions that affect CDCR and its
                     mental health care. These challenges have included unprecedented growth in the
                     prison population and resulting changes to population projections; understaffing
                     of personnel at CDCR’s own headquarters to execute the many parts of the
                     planning task; and coordination with the California Prison Receivership, which
                     has become engaged in the redesign of medical care, and to some extent mental
                     health care, within CDCR institutions.

             Joint Pls’ Trial Ex. 69 at p. 131-132. In the draft 20th report, he noted, “Timely access to

             appropriate levels of care, essential to the efficacy of a mental health delivery service, continued

             to elude CDCR.” Joint Pls’ Trial Ex. 57 at p. 349.

                     88.     The dire need for substantial additional inpatient, MHCB and EOP beds was

             apparent to me during my tours as I talked to and observed patients at every level of care. It was

             clear that the severe shortage of mental health beds has created a system that houses a significant

             portion of Coleman class members at lower levels of care than the patients clinically require. A

             significant number of class members who I interviewed at the EOP level of care, for instance,

             required, inpatient psychiatric hospitalization. I base this statement on my clinical evaluation of

             those patients, on my review of their medical charts and on my knowledge of the MHSDS

             system during the time that I was monitoring the Gates consent decree. I also interviewed

             several patients in DMH intermediate care facility placements that, in my opinion, required acute


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             psychiatric hospitalization. I was struck by the very high acuity of the patients I encountered

             during my tours because they were much sicker, as a whole, than the Coleman class members I

             encountered between 1990 and 2000 while monitoring CMF as a medical and psychiatric expert

             for Gates.

                                           MHCB and EOP Patients Who Require Inpatient Care

                    89.     The following are examples of class members from my recent tours who I believe

             require a higher level of mental healthcare than was currently being provided:

                            a)     I interviewed Coleman Class Member VVV in the MHCB unit at MCSP

                                   on August 1, 2008. He was designated at the EOP level of care. The

                                   medical file reflected that Class Member VVV is diagnosed with

                                   Schizophrenia or Schizoaffective Disorder. His “Inmate Profile” shows

                                   that he is also diagnosed with Dementia due to HIV disease or Cognitive

                                   Disorder NOS, although I did not see these diagnoses in his medical file.

                                   Coleman Pls’ Trial Ex. 145. He was prescribed the following

                                   medications: Risperdal (37 ½ mg. shot every 2 weeks); Lexapro (20 mg.

                                   daily dose) and Trazodone (unknown daily dose). The “Inmate Profile”

                                   sheet shows a significant suicide attempt history and also shows that while

                                   he was referred for acute inpatient care at DMH on February 20, 2008, he

                                   was not placed in an acute bed until June 6, 2008. The MHCB 2nd Quarter

                                   Chart shows that he was housed in an MHCB for 37 days between April

                                   30 and June 6, 2008. Coleman Pls’ Trial Ex. 141. Class Member VVV

                                   reported that he was in the MHOHU previously, where he smeared feces

                                   in his cell because staff would not provide him with a mattress or blanket.

                                   Pictures of a MHOHU cell are attached to this report as Appendix D. The

                                   “Patient Activity Report-Inhouse” log shows that he was admitted to the

                                   MHOHU three times between June 24 and July 22, 2008 (4/24-4/30; 7/4-



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                             7/7 and 7/22 for one day). Coleman Pls’ Trial Ex. 146 at p. 13. In my

                             opinion and based on Class Member VVV’s clinical presentation and his

                             significant suicide history, he exceeds the EOP level of care and should be

                             housed in an inpatient setting.



                       b)    I interviewed Coleman Class Member XXX at SVSP on July 29, 2008.

                             Class Member XXX was floridly psychotic when I spoke with him, was

                             also manic and was religiously preoccupied. His file reflected that he was

                             not taking medications despite documented assaults on staff due to

                             untreated mental health issues. He is also not listed on the Keyhea “active

                             cases” log from SVSP dated July 20, 2008. Coleman Pls’ Trial Ex. 147 at

                             p. 4. Despite his condition, Class Member XXX was housed in an

                             administrative segregation unit with active mental health issues that were

                             not being treated. He is designated at an EOP level of care, but in my

                             opinion, requires inpatient psychiatric care.


                       c)    I interviewed Coleman Class Member YYY at SVSP on July 29, 2008.

                             Class Member YYY was very paranoid, could not maintain eye contact,

                             and was responding to internal stimuli. He also had significant cognitive

                             impairment. The “inmate history” sheet provided by the institution shows

                             that he has a diagnosis of Schizoaffective Disorder and is at the EOP level

                             of care. He was prescribed Zyprexa (daily dose of 10mg) and Cymbalta

                             (daily dose of 60 mg). Although Class Member YYY was being housed at

                             the EOP level of care, I believe he requires inpatient care based on his

                             clinical presentation and his active psychosis. Clinicians at the institution

                             agree that Class Member YYY needs an inpatient level of care as he has

                             been waiting for an inpatient bed since his 11/8/07 referral (or for nearly 9


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                             months as of the date I saw him). Coleman Pls’ Trial Ex. 118, Patient

                             622.



                       d)    I interviewed Coleman Class Member ZZZ at SVSP on July 29, 2008.

                             Class Member ZZZ reported, and his file confirmed, that he made a

                             serious suicide attempt more than a year before and had been waiting for

                             an intermediate care facility bed ever since that time. The “Inmate

                             History” sheet provided by the institution shows that he has a diagnosis of

                             Bipolar I disorder, severe with psychotic features. Coleman Pls’ Trial Ex.

                             148 at p. 1. He was psychotic and labile when we spoke and had low

                             frustration tolerance. He was also on very high doses of medications as

                             follows: Buspar (60 mg. daily dose); Zyprexa (30 mg. daily dose); Inderal

                             (60 mg. daily dose); Visteril (150 mg. daily dose, and; Lithium (900 mg.

                             daily dose). While CDCR clinicians agreed that Class Member ZZZ needs

                             inpatient care, he has been housed at the EOP level for nearly a year

                             awaiting that placement. The SVPP waiting list reflects that he has been

                             waiting for an inpatient bed since his September 6, 2007 referral (or nearly

                             a year as of the date I saw him). Coleman Pls’ Trial Ex. 118, Patient 607.



                       e)    I interviewed Class Member LL at SVSP on July 29, 2008. Class Member

                             LL was floridly psychotic during our interview and had strange ideas of

                             reference. He believed that the FBI was sending lasers into his cell

                             through wires and he also believed that his wife worked on the Coleman

                             lawsuit in San Francisco. He had been admitted for mental health crisis

                             care five times in 2007 and once already in 2008 according to his “Inmate

                             History” print-out. Coleman Pls’ Trial Ex. 149 at p. 28. His file reflected

                             that he was on Keyhea and that he was currently taking the following


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                             medications: Risperdal Consta (37 ½ mg. every 2 weeks) and Risperdal (2

                             mg. daily dose). He was diagnosed with Schizoaffective Disorder. It

                             appears from a DMH log that clinicians referred Class Member LL to an

                             ICF bed on September 27, 2007 and that he was “accepted” for the bed on

                             January 22, 2008. He then sat on the waiting list until May 4, 2008, when

                             someone rescinded his referral. Class Member LL needs a higher level of

                             care than EOP as evidenced by his clinical presentation and his multiple

                             mental health crisis bed placements since 2007. Coleman Pls’ Trial Ex.

                             117, Patient 570. In my opinion, he should not have been removed from

                             the ICF waitlist.


                       f)    I interviewed Class Member AAAA at SVSP on July 29, 2008. Class

                             Member AAAA was being treated at the EOP level of care and was

                             diagnosed with Schizophrenia. According to his file and my conversation

                             with him, Class Member AAAA had a significant violent history, which

                             included decapitating his father with a machete. His “Inmate History”

                             shows that he was on Keyhea since November 2, 2007 (order expires

                             November 1, 2008). Coleman Pls’ Trial Ex. 150 at p. 38. He was also on

                             a very significant amount of medications, including the following: Haldol

                             Decanoate (100 mg. shot every two weeks); Cogentin (2 mg. daily dose);

                             Zyprexa (20 mg. daily dose). Despite being prescribed a significant

                             amount of medication, including four times the normal dose of Haldol

                             Decanoate, Class Member AAAA was still very ill and requires inpatient

                             care. In my opinion, he should have been promptly transferred to an

                             inpatient psychiatric hospital. According to the DMH referral log,

                             clinicians referred Class Member AAAA to an inpatient bed on February

                             20, 2008, but he was sent back to the EOP unit to wait for that bed.


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                             Coleman Pls’ Trial Ex. 151 at pp. 1-2. It also appears that staff lost his

                             referral package at one point, which required SVSP to send a replacement.

                             His Inmate History also shows that Class Member AAAA saw seven

                             different psychiatrists for psychotropic medications between June of 2007

                             and June of 2008.



                       g)    I interviewed Class Member BBBB at CMF on July 30, 2008. Although

                             Class Member BBBB was in an intermediate care facility placement when

                             I interviewed him, there was a July 29, 2008 physician note discharging

                             him back to the EOP level of care. Class Member BBBB was diagnosed

                             with Schizophrenia, Paranoid Type, Depressive Disorder, NOS, and

                             Polysubstance Dependence and was prescribed the following medications:

                             Abilify (30 mg. daily dose), and; Remeron (30 mg. daily dose). I saw

                             paperwork for two different people in Class Member BBBB’s file and

                             when I asked him about it, he said that he was both men. I told him that

                             the men were born five years apart based on the paperwork and he

                             confirmed again that he is both men. In my opinion, Class Member

                             BBBB was not appropriate for discharge to an EOP level of care and

                             requires inpatient mental health treatment. Unless Class Member BBBB

                             has an alias, it also appears that his medical file may contain documents

                             about a different Coleman class member.



                       h)    I interviewed Class Member CCCC at MCSP on August 1, 2008. Class

                             Member CCCC was housed in administrative segregation at the EOP level

                             of care and appeared to have been there for a very long time. His file

                             showed that he was diagnosed with “Psychosis NOS,” but his “Inmate

                             History” lists his diagnosis as Schizophrenia, Paranoid Type. Coleman


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                             Pls’ Trial Ex. 152 at p. 1. His file showed that he was diabetic and that he

                             was being treated for his mental health issues, as of July 25, 2008, with a

                             20 mg. daily dose of Abilify. His “Inmate History,” however, which is

                             dated August 1, 2008, shows that all medications were stopped on January

                             27, 2008. He reported that he was previously housed in inpatient beds at

                             both CMF and SVSP. At the time of our interview, Class Member CCCC

                             was floridly psychotic and was responding to multiple internal stimuli.

                             The “Patient Activity Summary” shows that he had three admissions to the

                             MHOHU between April 19 and June 25, 2008 for a total of 27 days in the

                             MHOHU. Coleman Pls’ Trial Ex. 146 at p. 15. Based on the information

                             in Class Member CCCC’s file and his clinical presentation, he very clearly

                             needs inpatient care and is not appropriately housed at the EOP level of

                             care.


                       i)    I interviewed Class Member FFFF at CMF on July 30, 2008. His case

                             manager progress note, dated 7/25/08 shows that he has a diagnosis of

                             Schizophrenia, Paranoid Type, and Polysubstance Dependence. Coleman

                             Pls’ Trial Ex. 153 at p. 1. His file showed that he was prescribed

                             Risperdal Consta (50 mg. every 2 weeks); Risperdal (4 mg. daily dose)

                             and Thorazine (200 mg. daily dose). His “Case Manager Progress Note”

                             shows that he is on a Keyhea as a “DTO” (Danger to Others). According

                             to the medical file, staff referred Class Member FFFF to an intermediate

                             care placement on January 28, 2008, but he was waiting at the EOP level

                             of care until a bed opened up for him. I agree that Class Member FFFF

                             requires inpatient care. Because there are no beds, however, he has been

                             forced to stay in a clinically inappropriate placement for nearly six

                             months. The severity of his mental illness is demonstrated by numerous


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                             assaults on staff and other prisoners, his history of inpatient admissions

                             and his suicidal history.

                                    Intermediate Care Facility Patients Who Require Acute
                                    Care

                       a)    I interviewed Class Member DDDD at SVSP on July 29, 2008. Class

                             Member DDDD was very psychotic and displayed prominent negative

                             symptoms. He was paranoid and had a history of staff assaults. He was

                             also prescribed significant medications, including two anti-psychotics and

                             one mood stabilizer as follows: Risperdal (8 mg. daily dose); Seroquel

                             (400 mg. daily dose), and; Depakote (1000 mg. daily dose). In my

                             opinion, Class Member DDDD was inappropriate for ICF care due to his

                             excessive psychosis and paranoia and his history of staff assaults. He

                             requires placement in a locked hospital setting that provides acute care.



                       b)    I interviewed Class Member EEEE at CMF on July 20, 2008. He had

                             been housed in an intermediate care facility bed since December 3, 2007

                             and had a significant violent history. Class member EEEE was diagnosed

                             with Schizoaffective Disorder (depressive type) with Polysubstance

                             Dependence in remission. His October 24, 2007 “Mental Health

                             Treatment Plan,” however, listed his diagnosis as Schizophrenia, Paranoid

                             Type, and Polysubstance Dependence in remission. Coleman Pls’ Trial

                             Ex. 154 at p. 3. He was prescribed the following medications: Depakote

                             (1750 mg. daily dose); Prozac (40 mg. daily dose); Propranalol (20 mg.

                             daily dose); Zyprexa (25 mg. daily dose), and; Benadryl (100 mg. daily
                             dose). Class Member EEEE is in my opinion too sick to be at an

                             intermediate level of care and requires placement in an acute hospital

                             setting. He continued to display extensive thought blocking by competing


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                                      stimuli despite being housed at the ICF level of care for more than seven

                                      months and despite being prescribed large doses of anti-psychotic and

                                      mood stabilizing medications.


                     90.       These class members (and the two men I saw in the acute unit at CMF) were some

             of the most acutely ill people I have seen. When I said this to Dr. Gandhi, the Director of DMH

             units at CMF, she agreed that the acuity level of her patients is quite high and, as mentioned in

             the next section, attributed the high acuity in large part to medication problems.

                     91.       The reality of the current MHSDS system, as demonstrated by my interviews with

             these class members and the admitted shortage of EOP, MHCB and inpatient beds, is that too

             many people are housed in places that simply cannot provide them with the level of mental

             health care they require. This is a direct result of overcrowding—there are too many people in

             the system and too few resources to treat them. This in turn means that the acuity at every level

             of care is higher than it would be in a system that has sufficient inpatient beds. I saw this time

             and again during my tours—there were inadequate mental health crisis beds for people

             experiencing acute mental health episodes, which meant that many of those people are housed in

             inappropriate “overflow” placements such as MHOHUs or administrative segregation units. The

             significant 171 patient waitlist for intermediate care facility beds also means that patients who

             need inpatient care are instead waiting in EOP units, in valuable MHCBs or in the various

             “overflow” units. Once those people are admitted to inpatient beds, sometimes after many

             months of living in clinically inadequate placements, they are sicker and more acute than they

             would have been had they been promptly provided adequate care. As Dr. Gandhi, the Director

             of DMH units at CMF expressed, this means that the inpatient units as a whole are admitting

             extremely acutely ill patients. The waitlists for acute beds and mental health crisis beds only add

             to this crisis.
                     92.       There are serious clinical and systemic consequences of having too few beds at

             nearly every level of care. First are the individual consequences for patients. By not providing


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             adequate and timely care, people are decompensating and are ending up in mental health

             conditions far more acute than necessary. This translates into longer stays in inpatient beds and

             the consumption of greater resources for longer periods of time than the person might otherwise

             have required. Second are the systemic consequences of these backlogs. It is taking longer to

             stabilize and treat the people coming into inpatient mental health beds, which means that those

             people consume valuable resources for longer periods of time. In other words, the lack of

             sufficient inpatient beds creates a cycle of sicker people being admitted, with greater resources

             necessary to treat them, which then creates even further backlog in an already overwhelmed

             system.

                                    (b)    Systemic Problems with the CDCR’s Medication Management
                                           System

                    93.     Another significant systemic problem that is closely tied to overcrowding is the

             flawed medication management system. The Receiver’s 7th Quarterly report included a report by

             the pharmacy management consulting firm that the Receiver has retained regarding the barriers it

             anticipates facing in the next year. One of those barriers is overcrowding:

                    The impact of the overcrowding on the system’s abilities to provide timely and
                    effective delivery of necessary medications is significant. A clear example of this
                    impact was noted at San Quentin. San Quentin receives 75-80 new prisoners each
                    day and presumably transfers out or releases about the same number. Overcrowding
                    however, forces a series of “compaction” moves resulting in as many as 300-400
                    separate prisoner moves each day in order to free up appropriate housing for the
                    offenders. This constant “churn” of prisoners within the institution keeps the
                    healthcare staff chasing prisoner movement to ensure medications can be delivered
                    in a timely fashion. Because the housing data used by the pharmacy is not up-to-
                    date at all times, there is a duplication of workload for both pharmacy and nursing
                    resulting from having to fill prescriptions for patients presumed to be in one
                    housing area of the institution—but having been transferred as a result of the many
                    compaction moves; the nursing staff must try to obtain the appropriate location and
                    then transfer the medications to the new housing area. This takes time, and in some
                    cases, the medications are simply returned to the medical area to try to determine
                    where the prisoner is housed. During this time, the prisoner patient is not getting his
                    medications and may complain to staff—who in turn—reorders the medication,
                    resulting in duplicate work...



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             Joint Pls’ Trial Ex. 67, Ex. 6 at p. 29.

                     94.     The Coleman Special Master also found major medication problems in both his

             19th and his draft 20th reports. He found, for instance, significant variance with institutions’

             abilities to fill medication orders: “CSP/Corcoran complied with timelines for filling medication

             orders in 95 percent of cases. NKSP, however, filled and delivered ordered medications within

             one day in only 50 percent of cases, and at CSP/LAC there were delays of up to one week before

             ordered medications reached carts.” Joint Pls’ Trial Ex. 69 at pp. 121-122. When it came to

             patient non-compliance with medications, the Special Master’s audits showed significant

             problems: “Predominantly, institutions did not meet timelines in responding to instances of

             medication noncompliance.” Joint Pls’ Trial Ex. 69 at p. 122. The Special Master also found

             that referrals to psychiatry for non-compliance issues were lacking, as was the documentation

             and follow-up regarding those referrals:

                     At CSP/Sac, referrals to psychiatry for noncompliance fell below 80 percent, and
                     staff failed to document cases of no-shows or medication refusals. At KVSP,
                     medication refusals were documented in MARs 89 percent of the time, but
                     refusing inmates were seen within seven days in only 17 percent of cases. The
                     rate of documentation of medication noncompliance at CIM was high at 97
                     percent, but referrals for follow-up were documented in only 62 percent of cases.
                     Of those, follow up occurred within seven days in 51 percent of cases. Follow-up
                     on noncompliance was timely in only 48 percent of cases at ASP, which chartered
                     a QIT although its audit was methodologically unsound. Documentation of
                     noncompliance was deficient at CSP/LAC and at VSPW, which showed no
                     improvement in this area during the monitoring period. Compliance was probably
                     hindered by inconsistency in psychiatric coverage which led to delays in follow-
                     up contacts, with only half of referrals seen within one week.

             Joint Pls’ Trial Ex. 69 at pp. 122-123.
                     95.     At the end of 2007, I also observed significant flaws with the medication

             distribution system which I believe were direct consequences of overcrowding. See, e.g.,

             11/9/07 Report at pp. 36-37 (detailing problems with DVI’s provision of medications during

             intra-institutional transfers, its medication renewals, its tracking of medication non-compliance,

             its lab testing and its problematic recordkeeping); pp. 48-50 (detailing problems SOL has



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             monitoring the efficacy of medications, the side effects of medications and patient compliance,

             among other things); pp. 61-62 (detailing deficient medication practices at SVSP).

                    96.     I observed similar problems during my recent round of tours at SVSP, CMF and

             MCSP. First, due to the lack of adequate staff to distribute medications and the overwhelming

             number of inmates prescribed medications, staff members do not have sufficient time to

             adequately monitor whether inmates are taking medications properly. A further contributing

             factor to the ability of staff to monitor adherence to medications are the frequent lockdowns in

             the institutions. This results in distributions of medications through food ports or otherwise at

             cell doors, where it is difficult to monitor compliance with medication regimens. Second, the

             clinical staff members who distribute medications are too understaffed to evaluate the efficacy

             and potential side effects of the prescribed medications. Every patient I talked to about the

             medication distribution system described the same drive-by process—they received their

             medications in pill lines or at their cell doors from staff members who spent only a few seconds

             with them. The staff members never ask the patients about the efficacy of the medications or

             whether they are causing side effects. Third, psychiatrists are also overburdened and may consist

             largely of contract employees that are unable to maintain consistent relationships with their

             patients due to constant movements between units or even prisons. One 3CMS patient I spoke to

             at SVSP saw seven different psychiatrists between January of 2007 and July of 2008. Class

             Member AAAA, an EOP patient at SVSP, also saw seven different psychiatrists for psychotropic

             medications between June of 2007 and June of 2008. See supra at p. 41. The overburdened

             psychiatrists are further hampered by the largely absent information network from line staff

             about efficacy and or side effect problems. This leaves the treating psychiatrists essentially

             operating in the dark.

                    97.     The Department of Mental Health (DMH) recently found very high medication

             non-compliance rates among its patients as a direct result of the medication problems described

             above. According to a draft memorandum to all Chiefs of Mental Health, Health Care Managers,

             Chief Medical Officers, psychiatrists and directors of nursing, 222 out of 279 blood draw


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             samples of patients admitted to DMH during a recent audit “returned at the range of no level

             detected to at the minimum level of the laboratory reference for the psychotropic medication

             assayed.” Coleman Pls’ Trial Ex. 80 at p. 1.6 This means that 79 percent of patients with serious

             mental illness who are being admitted for inpatient care had very little or no medication in their

             systems.

                     98.    During my tour at SVSP on July 29, 2008, Dr. Neill, the Program Director for

             DMH, talked about these serious medication non-compliance issues. In particular, she reported

             that most patients are not compliant with their medications when they are admitted to DMH units

             and also are not subject to Keyhea orders, which would permit involuntary medication. As a

             result, DMH must stabilize the patients on medications and also initiate Keyhea orders where

             necessary. Dr. Neill reported that 60 percent of the men housed in the SVPP, an intermediate

             care facility unit, are subject to Keyhea orders.
                     99.    Dr. Gandhi, the Director of DMH programs at CMF also talked about the serious

             medication compliance issues throughout the CDCR. As I mentioned, when I told Dr. Gandhi

             that two of the patients I interviewed in the DMH unit were some of the sickest people I have

             seen, she agreed that the acuity of patients is severe. She very candidly told me that the patients

             coming into DMH units are getting sicker and sicker in all of her programs, including the Day

             Treatment Unit. She said that “quite a lot” of the increased acuity levels has to do with poor

             medication compliance upon admission, which presents a “very big challenge.” Dr. Gandhi also

             said that poor medication compliance means that it takes much longer to stabilize patients and

             get them to the point where they can productively participate in groups. This in turn means that


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              The draft memorandum directs psychiatrists to order and monitor reference psychotropic blood
             levels immediately when patients show signs of decompensation and also specifies that “results
             are to be returned to the ordering psychiatrist within seven or less [sic] working days for review.”
             Coleman Pls’ Trial Ex. 80 at p. 1-2. It is unclear, however, whether the CDCR’s overburdened
             medical and mental health care systems can even absorb the additional laboratory testing
             required to effectively monitor medication compliance. Several clinicians told me that they do
             not do this kind of lab testing, including the Director of the new 50-bed MHCB unit at CMF who
             had been in the unit for five weeks and had not ordered even one such test.

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             patients must stay in DMH units longer than they otherwise might require, which further

             contributes to the backlog of significantly ill patients unable to access higher levels of care.

                    100.    These medication management problems are typical in overcrowded systems.

             The consequences are just as Dr. Gandhi described—patients are coming into DMH units with

             very acute mental health problems, are taking longer to stabilize on medications and are then

             returned to the same system that fails to adequately monitor medication compliance, thereby

             starting the cycle all over again. A disturbing suicide that happened in the C-12 administrative

             segregation building at MCSP on January 22, 2008 illustrates this dangerous cycle, as well as the

             consequences of having too few crisis placements. Class Member GGG had a history of

             inpatient placements due to the severity of his underlying psychotic process, and a history of

             suicidal ideation and medication non-compliance. Coleman Pls’ Trial Ex. 144 at p. 3-5. On

             September 19, 2007, he was admitted into an acute bed at CMF, where staff were able to

             stabilize him and get him to take his medications. Id. at p. 5. He was discharged to the EOP

             level of care and arrived at MCSP on 11/2/07 with a recommendation that he continue to take his

             medications. Id. at pp. 5-6. Although a psychiatrist at MCSP continued the prescription initially,

             he discontinued the medication on 11/13/07. Id. at p. 6. Class Member GGG then apparently

             decompensated over a period of two months. There were no progress notes in his medical file

             from a psychiatrist between November 13, 2007 (the day he was removed from medications) and

             January 22, 2008, the day he killed himself. Id. at p. 7. Meanwhile, his case manager realized

             that he was decompensating, particularly after receiving news that he received four additional

             years added to his sentence for pushing a food tray out of his cell back in June of 2007, which

             apparently hit a correctional officer. Id. at p. 6. On January 10, 2008, the case manager talked to

             the psychiatrist about initiating Keyhea, but apparently did not do so. Id. at p. 7. She noted the

             same plan on January 17th but an order still was not initiated. On January 22nd, the case

             manager saw Class Member GGG for a crisis evaluation after he pushed his cell door into

             correctional officers when they were trying to close it. Id. at p. 7. Staff planned to admit him

             into the crisis unit at that point and initiate the Keyhea process. Id. After learning that the


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             restraint room was not available and that there were no crisis beds open, staff moved Class

             Member GGG back to his administrative segregation cell without any prescribed observation.

             Id. at p. 11. He hanged himself that night in his cell. This suicide is a disturbing example of an

             institution’s failure to maintain the clinical gains achieved at a higher level of care, its failure to

             appropriately monitor and prescribe necessary psychotropic medications and its failure (in this

             case fatal) to provide a mental health crisis bed to an acutely ill patient.

                                     (c)     Systemic Problems with Medical Records

                     101.    The Coleman Special Master found significant problems with medical records

             during his 20th round of tours. See Joint Pls’ Trial Ex. 57 at p. 68 (MCSP’s records sometimes
             had “years of paperwork [] stuffed into heavy UHRs held together with duct tape); p. 120

             (weekly summaries of psychiatric technician rounds “were not timely placed in UHRs due to

             substantial filing backlogs in [DVI’s] medical records”). The Receiver has also noted that the

             “management and maintenance of health records continues to be an area of great concern.” Joint

             Pls’ Trial Ex. 67 at p. 39.

                     102.    My personal experience with the CDCR’s medical records is consistent with these

             findings. I reviewed approximately 30 medical records during my first round of tours in

             November of 2007 and approximately 30 more during my July and August 2008 tours. I

             consistently found the records to be unwieldy, disorganized and bulky, with loose papers floating

             around in the files. It was exceedingly difficult to follow the clinical course of treatment of the

             patients because of the size and disorganization of the files. There were also a few instances

             where I found other patients’ records in the files I reviewed. In my experience, these problems

             are typical in an overwhelmed and overcrowded system. Accurate and well organized medical

             records are a critical element of medical and mental health care. They are even more essential in

             a complex and overcrowded system such as CDCR which is characterized by frequent transfers

             of patients, high turnover of clinical staff and overuse of contract clinicians who lack familiarity

             with the patients and the system itself.



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                                    (d)    The Systemic Use of “Bad Beds” Throughout the CDCR
                                           System

                    103.    Another direct result of overcrowding is the CDCR’s activation of thousands of

             “bad beds” throughout the system. According to recent data from the CDCR, there were 13,791

             of these beds sprinkled throughout the CDCR as of July 1, 2008 date. Joint Pls’ Trial Ex. 68.

                    104.    Because of overcrowding, for instance, gymnasiums and dayroom floors have

             been converted into large dorms filled with hundreds of men. In my opinion, these living spaces

             exacerbate existing mental health conditions and, in some cases, actually activate underlying

             mental illness in people who may not otherwise develop clinical symptoms. I personally

             observed these effects during my recent tours at California Medical Facility and Mule Creek

             State Prison in particular.
                    105.    Another example of harsh living conditions are the administrative segregation

             units, which often act as overflow placements for Coleman class members who are unable to get

             into crisis beds, EOP units and even acute or intermediate facility placement beds. The

             “Transitional Placement Unit” at Salinas Valley State Prison is an example of an overflow unit

             that was created because of population pressures in the system. Although I did not tour the unit,

             staff explained that it was created as a transitional unit for men who require a “Sensitive Needs

             Yard” (SNY) placement, but for whom there are no SNY beds. An Associate Warden explained

             that while Coleman class members at the 3CMS level of care can be housed in the TPU, EOP

             class members cannot. The Associate Warden explained that if a person housed in the TPU

             becomes EOP, he would have to waive his SNY status to be transferred to a mainline EOP unit

             or, if he refused to waive that status, he would be housed in administrative segregation. In

             addition, the Special Master’s 20th round report found that inmates “identified as requiring EOP

             treatment typically waited two to three weeks in the transitional program unit for a bed to

             become available.” Joint Pls’ Trial Ex. 57 at p. 183 (emphasis added). Whether EOP prisoners

             remain in the TPU or are moved to administrative segregation units, however, these delays show

             inadequate access to the EOP level of care.



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                    106.    While the TPU might be an appropriate unit to create in an overcrowded system,

             there is no question that this type of ad hoc unit would be unnecessary in a system that is

             operating at or near its capacity level. Moreover, if the report from the Associate Warden is true,

             it is inappropriate to force a prisoner to choose between appropriate mental health care in an EOP

             program and his safety in a SNY program. In my opinion, the extreme overcrowding in the

             system forces staff to create transitional housing units, overflow beds and other alternative

             placements that jeopardize the safety of prisoners and staff.

                                    (e)     The Impact of Overcrowding on Suicide Rates

                    107.    I discussed the impact overcrowding has on suicide rates in my prior report.

             11/9/07 Report at pp. 75-81. In particular, I noted that the suicide rate in the CDCR has

             significantly exceeded the national average of 14 per 100,000 during both 2005 (21.9 per

             100,000) and 2006 (at least 25 per 100,000 prisoners). Id. at p. 76. The CDCR had at least 43

             suicides in 2006, reported 35 confirmed suicides in 2007, and, according to plaintiffs’ counsel,

             has reported 24 suicides this year as of August 15, 2008. The Special Master’s draft report about

             2006 suicides found that 72 percent of the completed suicides in 2006 “involved some measure

             of inadequate treatment or intervention and were, therefore, most probably foreseeable and/or

             preventable.” Joint Pls’ Trial Ex. 58 at p. 8.

                    108.    My prior report explained:

                    [O]vercrowding increases both the prevalence and the severity of mental illness.
                    Put another way, overcrowding both creates new mental illness and makes
                    existing mental illness worse. Since many or most suicides are due to the
                    presence of severe mental illness or the onset of a severe mental health crisis, it is
                    clinically reasonable to anticipate a higher suicide rate in an overcrowded system.
                    Another way to think about the correlation between overcrowding and suicide
                    rates is to see overcrowding as a broad environmental factor increasing the risk of
                    suicides by creating a larger class of at-risk individuals.

             11/9/07 Report at p. 76.




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                    109.    The Special Master’s finding that more than 70 percent of the 2006 suicides were

             preventable is extremely disturbing. In my opinion, much of the suicide risk in the CDCR is

             related to overcrowding. One recent suicide in particular illustrates the consequences of an

             overburdened system. Class Member HHH hanged himself in an unlicensed infirmary at

             Correctional Training Facility (CTF) on March 18, 2008 and died two days later when he was

             removed from life support. A few days prior to his admission into the infirmary, a staff member

             found Class Member HHH unresponsive in his administrative segregation cell due to a suspected

             drug overdose; he also had dried blood on his wrist. He was transported to an outside hospital

             and then returned to the infirmary. A March 16, 2008, clinical note shows that staff

             recommended placement in a mental health crisis bed, but did not pursue that placement. A

             psychiatrist interviewed him on March 17, 2008 and noted that he was a “high suicide risk,” but

             then reduced the observation to one hour rounding rather than the 15-minute watches. The next

             day, Class Member HHH hanged himself with a noose that he made out of torn towel pieces.

             Coleman Pls’ Trial Ex. 155. The report also reflects that staff were confused about the correct

             suicide precaution and watch standards that should have been followed.
                    110.    This suicide illustrates several aspects of the CDCR’s overburdened system,

             including the danger of placing prisoners in alternative placements, the delayed access to higher

             levels of care (which in this case seems to have never been pursued), confusion among staff

             about suicide watch and observations procedures, and failure on the part of the attending

             psychiatrist to order clinically appropriate suicide precautions.

                            4.      Overcrowding is the Primary Cause of the Constitutional Violations
                                    in the CDCR

                    111.    These overcrowding-induced conditions that currently exist in the CDCR are

             extremely detrimental to the Plata and Coleman class members. The conclusion that

             overcrowding is the primary cause of these violations is inescapable for several reasons. I also

             stated these reasons in my November 9, 2007 Expert Report and have updated the following

             sections only as appropriate based on updated information.


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                                    (a)     The Persistence of the Constitutional Violations Present in the
                                            CDCR Demonstrates that They Are Caused by Overcrowding

                    112.    First, taken together, the range of Constitutional violations discussed above,

             including inadequate suicide monitoring and prevention, inability to timely access appropriate

             levels of care, inability to timely access mental health clinicians due to staffing shortages, and

             inadequate medication management practices are unusual in a system that has been under Court

             supervision for more than ten years. These serious, dangerous violations this late in the remedial

             process are typical indicators of a system plagued by severe overcrowding. In a non-

             overcrowded system, the Constitutional violations are more readily addressed by such

             interventions as increased staff and increased programming. However, in a system overwhelmed

             by crowding, these traditional remedies are woefully inadequate. This appears to be the case in

             the CDCR where remedial efforts have resulted in significant expansions of staffing and

             programming activities, yet the constitutional violations persist or even worsen.

                                    (b)     The Coleman Special Master Has Found That Overcrowding
                                            Has Undermined Progress That Was Being Made In Various
                                            Areas

                    113.    The Coleman Special Master has observed that, although there was a period of

             time when it seemed that defendants might be making progress in terms of their bed plan and the

             provision of treatment, the overcrowding crisis has overwhelmed this hope. In his April 12,

             2007 Report to the Court, he concluded: “By late 2005, it was evident that the reduction in

             population growth and then in the population itself in the first few years of the decade were over,

             and the numbers were rising fast. Early in 2006, defendants were staring at a galloping growth

             rate that threatened to hit 200 percent of capacity shortly, and the scramble was on to deal with

             the flow. One victim of the turnaround was CDCR’s mental health bed plan.” See 4/12/07

             Special Master’s Report on Defendants’ Establishment of Interim Inpatient Intermediate DMH

             Beds at 8.




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                                    (c)     The Percentage of Caseload Inmates in the CDCR is
                                            Increasing Faster than the Overall Population

                    114.    Another factor that demonstrates that overcrowding is the primary cause of the

             constitutional violations is the fact that the percentage of persons with serious mental illness in

             the CDCR is increasing faster than the overall CDCR population. Between January of 2003 and

             July of 2007, the population of the CDCR’s prisons and camps grew from 152,396 to 165,932,

             an increase of 8.9 percent. Coleman Pls’ Trial Ex. 34 and 35 (Monthly population figures

             downloaded from the CDCR website for January 2003 and July 2007). During the same period,

             the MHSDS caseload of EOP and CCCMS inmates grew from 24,599 to 32,039, an increase of

             30.2 percent. Coleman Pls’ Trial Ex. 36 (CDCR MHSDS Prevalence Data for January 2003 and

             July 2007 from CDCR Monthly Reports). Thus, during this period of roughly four and one-half

             years, the mental health caseload grew at four times the rate of increase for the overall

             population.
                    115.    Since my last report, the overall CDCR population has decreased while the

             MHSDS population continues to increase. From July 2007 to June 2008, the overall population

             went from 165,932 to 160,169, a decrease of 5,763 inmates. Coleman Pls’ Trial Ex. 35 and Joint

             Pls’ Trial Ex. 103. At the same time, the MHSDS has increased from 32,039 to 34,035, or by 6.2

             percent.

                    116.     This is typical of overcrowded systems because, as I have stated previously,

             overcrowding creates new mental health needs and exacerbates existing mental health needs. I

             encountered numerous examples of this on my various prison tours in preparing this opinion. As

             the data supports, the net result of overcrowding is a greater incidence of mental illness and at a

             more acute level. Traditional remedial efforts such as increased staffing will be insufficient to

             remedy this problem and, in a system like the CDCR’s where office and treatment space is

             severely limited, might actually create additional overcrowding problems. Finally, as stated

             previously, overcrowding expands demand at the highest levels of care and creates static

             backlogs of patients that make it difficult to assess the true demand for services.



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                                    (d)    In Many Instances, the Overcrowded Conditions Themselves
                                           Are the Cause of the Unconstitutional Mental Health Care

                    117.    The causal link between overcrowding and unconstitutional mental health care is

             clear and direct in the many CDCR housing units where space shortages from overcrowding

             directly result in long-term living arrangements that are harmful to the mental health of Coleman

             class members. For example, CCCMS inmates are routinely double or even triple-bunked in

             chaotic, overcrowded dorms where they experience damaging levels of stress and fear of

             predation. It is clear that the mentally ill inmates I interviewed at Solano who also had staph

             infections would not have been as ill if they were not living in overcrowded conditions.

             Similarly, mentally ill inmates are retained for extended periods in Reception Centers and in

             locked down general population units, where they are locked in their cells for most of the day

             and receive little or no programming or mental health services. Such environments add to the

             instability of persons with mental illness. Another context in which the link is clear is improper

             placements in administrative segregation, where caseload inmates are often unable to access care

             and experience decompensation. Yet another context is suicide watches in holding cells, cages,

             tanks, administrative segregation units, and other unsafe, unlicensed, and improperly supervised

             environments. These same harsh conditions, as discussed earlier, also increase the demand for

             mental health services in prisoners in the general population who, in a properly operating, not

             overcrowded system, would not need mental health services. Isolation, seclusion, idleness,

             violence, fear and stress plague the prisoners in the CDCR as a direct result of overcrowding.

             These conditions exacerbate mental illness and are serious barriers to the provision of minimally

             adequate mental health and medical care.

                    B.      Opinion 2: Other Remedial Efforts, Other than Population Reductions, Will
                            Not Succeed In Remedying The Underlying Constitutional Violations.

                            1.      Defendants’ Current Plans to Fix the System Will Not Work

                    118.    In my opinion, no other relief will remedy the underlying constitutional violations

             except a remedy which results in a substantial reduction in the prison population. I also stated



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             this opinion in my November 9, 2007 Expert Report and have updated the following sections

             only as appropriate based on updated information.

                    119.    I am aware that the Coleman court has issued at least seventy-seven orders

             intended to induce the State to provide constitution levels of mental health treatment in the

             CDCR. The Coleman court concluded in its July 23, 2007 Order referring consideration of a

             prisoner release order to the three-judge panel: “Since February of 1996, this court has issued at

             least seventy-seven substantive orders to defendants in an effort to bring the CDCR’s mental

             health care delivery system into compliance with the requirements of the Eight Amendment.

             Taken together, these orders have contained directives aimed at all of the aforementioned

             requirements for a constitutionally adequate mental health care delivery system. In addition, the

             Special Master and his staff have spent hundreds of thousands of hours working with the parties

             to develop program guidelines for a constitutionally adequate system and monitoring defendants’

             implementation of those guidelines. During the same period of time, the Special Master has filed

             seventeen semi-annual monitoring reports and fifty-five other reports reflecting the results of

             these efforts.” 7/23/07 Order at 4:13-21. More orders and reports have issued since last

             summer.
                    120.    Having worked as a correctional expert and having worked on the Gates and

             Madrid cases, I am very familiar with the monitoring team working for the court on the Coleman

             case. Moreover, having reviewed the recent monitoring reports and the other documents in this

             case, it is clear that very intensive remedial monitoring efforts have been going on in the

             Coleman case for many years. In my opinion, the large team of national experts working as

             court-appointed experts in the Coleman case has a great deal of collective experience working

             with troubled correctional systems. Nonetheless, after more than ten years of intensive

             monitoring and other remedial efforts, the CDCR remains plagued by serious constitutional

             deficiencies in its delivery of mental health care. I agree with the Coleman Special Master that

             the reason for this sorry state of affairs is that whatever tentative progress was made early on in

             this case has been overwhelmed by the massive population expansion in recent years.


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                    121.    From reviewing the docket in the Coleman case, I am aware that these more than

             seventy-seven orders have attempted to address issues of staffing, space, quality of treatment,

             and bed availability, among others. These include numerous orders concerning such critical

             issues as adequate MHCB capacity (see, e.g., 1/15/01, 12/20/01, 10/8/02 Orders); access to

             DMH beds (see, e.g., 5/22/98, 7/26/99, 8/28/00, 4/4/01, 6/27/01, 3/4/02, 5/7/02, 10/8/02, 1/19/04,

             7/9/04, 6/30/07, 8/8/08 Orders); and staffing (see, e.g., 2/17/96, 6/17/98, 8/25/99, 1/19/99,

             7/26/99, 1/13/00, 4/27/00, 8/28/00, 6/13/02, 10/8/02, 3/3/06 Orders).

                    122.    Persistent shortages of beds at every level, lack of adequate mental health and

             custodial staff, and inadequate treatment and programming space clearly reflect the

             overcrowding crisis. In my opinion, more orders by the Court along the lines of those discussed

             above will not remedy the underlying Constitution violations at this time. The system is simply

             too overwhelmed by the population for these orders to be effective.
                    123.     I am also aware that the State has proposed construction of new prisons and re-

             entry facilities as the bulk of its solution to the overcrowding crisis. I have reviewed the

             Receiver’s analysis in his Reports regarding overcrowding and the further demands for mental

             health and medical staffing, and treatment space that building these new prisons and re-entry

             facilities will create. As the Receiver notes, building more prisons and re-entry facilities will

             require additional staff, and will spread existing overtaxed staff among more facilities. See Joint

             Pls’ Trial Ex. 26 (Receiver's 5/15/07 Report Re Overcrowding) at 40-41. The building timeline

             for the beds contemplated by AB 900 does not anticipate any new beds until 2009, and most of

             the beds will be built much later. See Coleman Pls’ Trial Ex. 40 (January 2007 CDCR Estimated

             Construction Schedule for Infill Bed Plan, Ex. 20 to Receivers 5/15/07 Report). Moreover, as

             the delays associated with the CDCR’s plans to construct walk-alone yards demonstrate,

             construction projects involving government agencies are rarely finished by the anticipated dates.

             In my opinion, any added capacity for mental health and medical treatment that this prison

             construction may create will take far too long to be sufficient to remedy the current constitutional

             violations, which are extremely urgent and life-threatening. This plan also fails to address the


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             other persistent, intractable overcrowding-related problems that are present in the CDCR, such as

             clinical and custody shortages, inadequate medication management practices, and insufficient

             beds at the highest levels of care.

                    124.    Similarly, defendants’ and the Receiver’s plan to meet the needs of Coleman and

             Plata class members by building “Consolidated Healthcare Facilities” (CHCFs) is a long-term

             goal that is insufficient to address current Constitutional violations. According to defendants’

             July 16, 2008 mental health bed plan, “[c]onstruction sites and schedules for the CHCFs are still

             in development, with anticipation of the first 1500-bed facility targeted to begin construction in

             January 2009, anticipating completion by January 2011. There are eight sites being considered;

             land availability, infrastructure capability, environmental concerns, and political climate, among

             others, drive the ability to select, schedule and begin construction.” Coleman Pls’ Trial Ex. 55 at

             p. 4. It is also apparent from the Receiver’s 8th Report that the entire project to build CHCFs is
             in jeopardy. He discusses the need for 10,000 medical and mental health beds (“no one seriously

             disagrees with these projections”) and explains that, “the scope of the existing shortfall in

             treatment facilities provides yet another example of the seriousness of the State’s long-term

             failure to provide constitutionally adequate medical and mental health facilities for its prisoners.”

             Joint Pls’ Trial Ex. 56 at p. 46. Despite the dire shortage of approximately 5,000 mental health

             beds and 5,000 medical beds, the State has thus far ignored the Receiver’s efforts to get the

             CHCFs funded. As he explains:


                    The State’s failure to make this necessary financial commitment puts the
                    Receiver’s entire remedial program at risk since the various pieces of the program
                    are so intertwined and interconnected that failure to fund and implement on major
                    element undermines all of the other elements. Unfortunately, the State’s failure to
                    make the necessary financial commitment is not a result of inadvertent neglect or
                    mere incompetence (trained or otherwise). Instead, it is a result of conscious,
                    deliberate obstruction by key decision-makers and decision-influencers resulting
                    in a willful failure by the State to live up to its constitutional and court-ordered
                    obligations. This is not a charge that the Receiver makes lightly; he has spent the
                    last fifteen years working within State government processes to improve
                    government operations. The State has now crossed that line and, in so doing,
                    demonstrates a lack of remorse and an unwillingness to accept accountability for


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                     its own constitutional violations. The State’s failure to express its unequivocal
                     commitment to the Receiver’s necessary construction program should be taken
                     into account by this Court in subsequent proceedings, and by the Coleman,
                     Armstrong and Perez Courts.

             Id. at p. 56.
                     125.    Even if the Receiver’s construction plan had funding, however, the Receiver

             anticipates building only one of the five hospitals by 2011 in the best case scenario. The fact that

             the plan is currently unfunded means that the 2011 and all other deadlines are in jeopardy. It is

             also significant that the Receiver’s plan does not address all of the required shortfall of EOP,

             MHCB and ICF beds. The CDCR, which has a very poor track record of completing

             construction projects on time, is still tasked with a series of construction projects, including, for

             example: the 64-bed ICF unit at SVSP; the 64-bed ICF unit at CMF; the 50 bed MHCB unit at

             CMC; the 32 MHCB unit at San Quentin and; the 67 EOP unit at CMF. Coleman Pls’ Trial Ex.

             55 at p. 7. Meanwhile, the Coleman and Plata class members are daily suffering dangerous

             denials of mental health care and medical care that place them, their fellow inmates, the officers

             who supervise them, and the public at risk. The only way to timely correct the endemic denials

             of appropriate mental health care that currently exist in the CDCR is to significantly reduce the

             population. No other remedy will result in a constitutional medical and mental health care

             system in the CDCR.

                             2.     The State Must Make Substantial Reductions in the Prisoner
                                    Population

                     126.    I conclude that the prison population must be substantially reduced in order to

             provide adequate mental health care in a timely manner to the prisoners with mental illness who

             are suffering every day in the California prisons. In 2004, the Corrections Independent Review

             Panel appointed by Governor Schwarzenegger worked with experienced wardens to determine

             the “Maximum Operable Capacity” (MOC) of the prisons system. The Panel defined MOC as

             “the percentage of design capacity of the various housing units within the institutions wherein

             the prison can be operated both safely and can provide programming for ever inmate, consistent



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             with the inmate’s ability.” Joint Pls’ Trial Ex. 4 at p. 161. The MOC incorporated educational,

             vocational, substance abuse, and other rehabilitation programming, but did not account for

             programming associated with mental health or medical treatment. Coleman Pls’ Trial Ex. 108 at

             p. 113:15-17. The Panel concluded that the MOC for male prisons statewide was 145 percent of

             design capacity.7 Joint Pls’ Trial Ex. 4 at p. 124. The MOC made two assumptions: first, all

             “bad beds” would be closed so that program space would be available, and second, there would

             be sufficient “staff with requisite experience” available to manage an effective program. Id. at p.

             161.
                     127.   When mental health treatment needs are taken into account, the maximum

             operable capacity will be lower. The Coleman Special Master reported to the Court on May 31,

             2007 that “[g]iven the inadequacies of programming space, program beds and mental health

             staffing…defendants cannot meet at least a substantial portion, amounting in some loose

             amalgam to about 33 percent, of acknowledged mental health needs…” Joint Pls’ Trial Ex. 35 at

             pp. 12-14.

                     128.   The operable capacity estimation by the California wardens also probably reflects

             a degree of institutionalized acceptance of overcrowding on the part of the wardens themselves

             that may have driven them to overestimate capacity. The Plata Receiver has documented

             “CDCR’s institutionalized acceptance of overcrowding and the lowering of correctional

             standards to accommodate overcrowding.” Joint Pls’ Trial Ex. 26 at p. 10. The Receiver found

             that decades of prison overcrowding in California resulted in the parallel evolution of “a

             correctional mindset that allows overcrowding rather than sound correctional management to

             drive crucial construction and prisoner management policy.” Id. (emphasis in original).

             Moreover, the Receiver found that the CDCR Facility Master Plans spanning 1993-2003

             similarly failed to account for medical, mental health, and dental care programming needs.


             7
              Design capacity was determined to be 76,879 inmates at that time. Joint Pls’ Trial Ex. 4 at p.
             123. On January 25, 2007, the Little Hoover Commission issued a report updating the design
             capacity to 83,219. Joint Pls’ Trial Ex. 3 at p. 19.

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             Indeed, CDCR knowingly planned construction of even its newest prisons to provide at most

             fifty percent of all health care related space needs, “ignoring pre-existing plans to double-cell the

             prison up to 200 percent of capacity.” Id. at p. 20. These facts suggest that the Maximum

             Operable Capacity is actually lower than the Corrections Independent Review Panel’s conclusion

             of 145 percent.

                    129.    At a minimum, it is clear that the prison population must be reduced to a level,

             whether 145 percent or lower, that allows the State to meet the assumptions that the Corrections

             Independent Review Panel laid out for maximum operable capacity. All bad beds must be

             eliminated, sufficient program space must be identified and made available, and the number of

             inmates must correlate with available appropriate clinician and custody staffing, in terms of both

             numbers and quality, to provide programming. It is not clear that the “serious staffing shortfalls”

             in CDCR prisons can accommodate 145 percent capacity (much less the near-double capacity

             they now face). Joint Pls’ Trial Ex. 26 at p. 11 (“[O]vercrowding is accompanied by serious

             staffing shortfalls for both clinical providers and correctional officers.”).
                    130.    A maximum operable capacity that provides for the constitutional delivery of

             mental health care must expand the assumptions of the Panel to reflect the mental health

             treatment standards established by the Coleman Court. All “bad” mental health beds must be

             eliminated—for example, this means reducing the population to eliminate the use of alternative

             crisis beds, EOP “overflow” housing that does not have appropriate space for individual or group

             mental health contacts, and DMH units such as those currently run in SVSP D-5 and D-6, which

             are not set up to provide care consistent with inpatient standards. Adequate mental health

             programming space must be afforded. The operable capacity must also be related to the number

             of mental health and custody staff in the prison system providing mental health care, and the

             ability to provide these staff with adequate office and treatment space.




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                    C.      Opinion 3: The State Can Include the Coleman Class in Population
                            Reduction Plans without Adversely Affecting Public Safety and Should Do
                            So. Moreover, If the State Enhanced the Services Provided to Released
                            Individuals, Public Safety Would Improve.
                    131.    Any reduction of the prison population must include at least a proportionate

             reduction in the mental health caseload population in order to remedy the ongoing Constitutional

             violations in the delivery of mental health care. The Special Master has already observed that

             the resources now in the system (beds, space, staff) are insufficient for at least one-third of the

             mental health caseload. Joint Pls’ Trial Ex. 35 at pp. 13-14. It is both safe and appropriate to

             include individuals with mental illness in any program to decrease the length of stay or divert

             from prison designed to address overcrowding. When considering the public safety impacts of

             such a program, and the increased use of sanctions other than prison for parole violators with

             mental illness, it is important to understand who these individuals are and what systems already

             exist in the community that are already available to support them.
                    132.    Although many people talk in terms of “the mentally ill,” there is a not a single

             monolithic “mentally ill” population. In CDCR’s Mental Health Services Delivery System, for

             example, there are individuals classified at the CCCMS level of care, individuals classified at the

             EOP level of care, and individuals classified at the inpatient level of care. June 2008 data shows

             the total CDCR population of individuals identified with mental illness as 34,035, including

             28,511 at the CCCMS level of care; 4,577 at the EOP level of care; at least 272 in Mental Health

             Crisis Beds; and 574 in Department of Mental Health inpatient beds. Coleman Pls’ Trial Ex. 57

             at p. 4. The total mental health population is approximately 21 percent of the total CDCR prison

             population (34,035 of 160,334). Joint Pls’ Trial Ex. 65 at p. 1 (showing population of prisons

             and camps).

                    133.    It is important to differentiate between these groups in terms of the levels of

             support and treatment required by these individuals upon parole or diversion to their home

             communities. Under the Program Guide standards, CCCMS prisoners (84 percent of the mental

             health caseload and about 18 percent of the total prison population) can be safely housed and

             function in the general population of the prison, with a minimal level of mental health support.


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             Currently, most receive only medication, and the Program Guide standards require that they

             receive a reevaluation regarding medication issues every 90 days. The Program Guide

             definitions of CCCMS patients recognize that there is a spectrum of needs within the CCCMS

             classification, including the largest group of patients for whom tracking and monitoring is

             sufficient to meet clinical needs, as well as those who may need a modest level of clinical and

             case management services. In the community, CCCMS individuals would need parallel levels of

             treatment, with many needing medication and follow-up, and some who would benefit from

             additional case management that would include assistance with accessing community mental

             health services, substance abuse treatment, housing, benefits, and employment. Just as in prison,

             the vast majority of parolees with mental illness will rarely require more intensive levels of

             mental health services such as crisis care, day treatment or hospitalization, in the community.

             Some mentally ill parolees, supported by friends and family, and away from the stress and

             tensions of the overcrowded prisons, will improve their level of functioning and their treatment

             needs may actually decrease.
                    134.     A far smaller group of mentally ill individuals, represented by the EOP

             population (13 percent of the mental health caseload and less than 3 percent of the total prison

             population), and the inpatient population (2 percent of the mental health caseload and less than .5

             percent of the total population), need increased levels of community mental health services.

             Even in this smaller group of individuals at higher levels of care, there is still a range of

             appropriate treatment options. For example, there are some individuals at the EOP level of care

             who can succeed in the community with the same level of resources described above for the

             CCCMS population. Other individuals with a greater level of dysfunction as a result of their

             mental illness would be more likely to succeed in the community with day treatment programs.

             A smaller number would need housing in board and care or other residential facilities, and from

             time to time, access to crisis care and psychiatric hospitalization. It has been my experience that

             this broad range of services can be very effective for treating offenders with all levels of mental

             illness in the community. I also reviewed and agree with a memorandum from the Regional


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             Administrator for Parole Region IV (San Diego, Riverside, San Bernardino and Imperial

             Counties) in which he observed that the provision of adequate and timely intermediate levels of

             treatment to parolees such as day treatment could reduce the number of parolees who need

             hospitalization or who are returned to prison, thus “break[ing] the cycle of mentally ill parolees

             filling up expensive prison beds.” Joint Pls’ Trial Ex. 70 at p. E_PRIV_051487 (Memorandum,

             Jeff Fagot, Parole Administrator, Region IV to Tom Hoffman, July 30, 2007.

                     135.   It has been my experience that there are already community mental health systems

             in place at the local level to provide treatment and other supportive services to this population.

             These include a spectrum of services ranging from clinician and social worker appointments to

             day treatment to locked care facilities. There are a variety of service providers including city and

             county hospitals and clinics, private contractors, parole office clinics, non-profits and the

             Veteran’s Administration. It is also my experience that community mental health and parole

             programs are currently underfunded and would benefit from a significant increase in their

             resources. It is also true that various communities have different types of programs, some more

             successful than others and some better funded than others. There is no question that California

             needs to do a much better job with community mental health programs and improvements in

             those programs would benefit society as a whole in many ways.
                     136.   It is my understanding that some public mental health treatment providers

             currently refuse to provide treatment to parolees because there remains confusion and

             disagreements about whether the county or the State is responsible for paying for mental health

             care for these persons. This sometimes results in parole agents and the parole revocation process

             sending individuals back to prison when their primary need is actually mental health treatment.8

             This ongoing dispute between the State and the Counties must be resolved. It is dangerous for

             the patients, wasteful of public resources and decreases public safety in the community. CDCR’s

             8
               For example, a memorandum from the Region III (Los Angeles) Parole Administrator notes
             that provision of increased clinical services to mentally ill parolees would provide needed
             treatment instead of punishing parolees for their illness by locking them up. Joint Pls’ Trial Ex.
             71 at p. E_PRIV_057802.

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             Reception Centers are dangerously overcrowded and do not and cannot provide appropriate

             mental health care for anyone, let alone a short term parole violator with mental illness. This

             patient will be returned to the community after a few months, having suffered the effects of

             severe prison overcrowding but receiving little or no appropriate mental health care.

                    137.    Any generalized fear about “releasing the mentally ill” because they are all too

             dangerous or psychotic to be safely released to the community should be flatly rejected.

             Individuals at all levels of acuity are already released from prison to parole all the time. Most of

             these individuals do not present an increased danger to others because of their mental illness, and

             appropriate treatment can be extremely effective in treating mental illness. To the extent that

             there are individuals who are more dangerous because of their mental illness, California laws

             already authorize the involuntary commitment of individuals whose mental illness causes them

             to be so dangerous that they may not safely be released. These laws provide authority for

             involuntary commitment and legal protections for the individuals who may be involuntarily

             committed.
                    138.    The “Mentally Disordered Offender” (MDO) Law provides for individualized

             assessments of the dangerousness of inmates due to mental illness, and also authorizes

             involuntary commitment for the small number of individuals who are deemed either unsafe for

             release because of mental illness or who are in mental health crisis and pose an immediate threat

             to themselves or others. This means that to the extent there are individuals who should not be

             released to the community because of an inability to control serious criminal conduct due to

             mental illness, there is already a system in place to screen out those few individuals. The MDO

             Law provides the criteria for treatment as a mentally disordered offender. This designation

             would apply to an individual who has a “severe mental disorder that is not in remission or cannot

             be kept in remission without treatment” at the time of parole or upon termination of parole and

             the severe mental disorder was one of the causes of or was an aggravating factor in the

             commission of a crime that is one of the serious crimes listed by the statute. Conservatorships

             also provide another tool that may be used for a very small portion of acutely ill individuals.


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                    139.    There are also already safety nets for individuals who decompensate in the

             community and require crisis care. The “Lanterman-Petris-Short” (LPS) Act provides for an

             involuntary 72-hour treatment and evaluation at a facility designated by the county and approved

             by the State Department of Mental Health when “any person, as a result of mental disorder, is a

             danger to others, or to himself or herself, or gravely disabled.” The LPS Act also requires that

             certain evaluations then take place to determine whether further care and treatment is needed,

             and whether a conservator should be appointed if involuntary care is needed.

                    140.    It is my understanding that instead of following these laws, it has been the

             practice of the CDCR to return parolees with mental illness to custody in CDCR prisons when

             parole agents perceive that they may be dangers to themselves or others. I reviewed an order the

             Coleman Court issued on August 8, 2008 directing parole agents to follow the LPS Act for

             parolees. These laws can be used to ensure that public safety considerations are met when

             releasing or diverting mentally ill offenders from prison.
                    141.    The improvements the State should make to its provision of care for mentally ill

             inmates released to parole are not insurmountable obstacles, and are well-known to clinicians in

             the field. For example, the Regional Parole Administrator for Parole Region III wrote an August

             2007 memorandum to the Director of the Division of Adult Parole Operations that an already-

             existing facility was assisting one of the parole districts with “housing EOP, CCCMS, and hard

             to place parolees…and has placement for approximately twenty parolees. As the program

             already has a housing component, they can add components to accommodate at Day Treatment

             and Crisis Care Service.” Joint Pls’ Trial Ex. 71 at p. E_PRIV_057801. The components he

             specified were 1) integrate medical, psychiatric, psychological, and chemical dependency service

             delivery; 2) assign a POC social worker and therapist to the program in order to ensure

             continuum of care; 3) provide an array of services, via case management; 4) assign parole agent

             from each district to work as a liaison between the program and DAPO; and 5) monitoring

             parolee’s behavior and arranging ongoing community support and treatment by coordination




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             between incarceration and gradual reintegration into the community. Id. at pp. E_PRIV_057801-

             057802.

                    142.    The Regional Administrator also recommended increasing clinical services for

             mentally ill parolees by providing access to:

                    a community hospitalization component that would handle our psychiatric cases
                    that will decompensate…Utilizing existing hospital facilities would be in
                    alignment with community re-integration and would present a process that has
                    patient’s rights and redress already built in via the Lanterman-Petris-Short
                    Act…Another aspect of this would be to engage in a contract with these facilities
                    to set aside Forensic beds and to allow our POC Psychiatrists hospitalization
                    privileges, to have the ability to hospitalize and treat our population…We can
                    look at hospitals/clinics in the area that may be receptive to such a partnership.
                    Our funding could allow for supplementing services provided by Medi-
                    cal/SSI/Medicare. This process would allow parolees to remain in the
                    community, and not be violated. Thereby, keeping their revocation rate down.
                    The process would also allow for individuals who need more long term care to
                    utilize existing Mental Health codes/statutes to pursue a 180-day certification or
                    long-term treatment at State Hospitals. Thus, parolees would not be punished for
                    their illness by being locked up.

             Id. at p. E_PRIV_057802.

                    143.    Similarly, the Regional Administrator for Parole Region IV wrote a July 2007

             memorandum to the Director of the Division of Adult Parole Operations that recommended

             “interagency agreements between CDCR and local government.” He identified a “dire need for

             day treatment” and suggested that “[c]onsummation of joint formal agreements between county

             and state agencies would be most beneficial with cost reimbursement or offset by CDCR to

             include all parolees within those jurisdictions.” Joint Pls’ Trial Ex. 70 at p. E_PRIV_051492.

             He noted that the “mental health issue must be approached as a partnership with all the agencies

             involved having a say in the outcome.” I agree with the Regional Administrator’s conclusion

             that the State needs “to develop contractual locked and open psychiatric care facilities in the

             local communities.” Id. at p. E_PRIV_051487.
                    144.    There are also some non-treatment steps CDCR could take that would improve

             the success of mentally ill individuals released to parole. For example, in the same


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             memorandum described above, the Administrator for Region III also recommended that

             “California should mandate a transportation policy independent of the $200.00 release funds.

             The policy should pay for the inmates’ direct transportation from the prison to the assigned

             parole office. This will allow the release funds to assist the parolee with housing and living

             expenses upon his release. In addition, the direct transportation to the parole office will reduce

             the absconder rate for their initial release to parole, and parolees released from revocation…This

             would also greatly benefit the parolee in need of mental health treatment, get the parolee to the

             parole office expeditiously, and afford him or her the appropriate and immediate referral

             resources to maintain his stability in the community.” Joint Pls’ Trial Ex. 71 at p.

             E_PRIV_057797. The Administrator for Region IV noted that because mentally ill parolees “are

             not adept at handling stressors…we must alleviate as much of that stress as we can. They must

             be informed prior to their release what the plan is and how it will accommodate their needs. This

             must be initiated at the institution if we are to break the cycle of mental[ly] ill inmates.” Joint

             Pls’ Trial Ex. 70 at p. E_PRIV_051488.
                    145.    Based on the documents I have reviewed and my own experience, it is my opinion

             that a prisoner release order must include inmates with mental illness in order to address the

             unconstitutional delivery of mental health care in the prisons. It is also my opinion that a

             decrease in the length of stay or diversion of individuals with mental illness from prison can be

             done without adversely affecting public safety. Moreover, if the services provided to these

             individuals were enhanced as described above, public safety would be positively affected.

             Individuals with mental illness have varying needs that can be effectively addressed in the

             community when appropriate treatment is provided. There are already systems in communities

             that provide this range of treatment and services. These should be enhanced in connection with a

             prisoner release order to maximize the chances of success for those individuals who are paroled

             to the community or diverted from prison to help counties absorb these individuals.




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             IV.    CONCLUSION
                    146. The extreme overcrowding in California’s prison system permeates nearly every
             aspect of medical and mental health care and, if not remediated, will continue to result in

             preventable suffering and death. Unless and until the state reduces the population, it wii1 be

             unable to sustain meaningful reform.


             Dated: August 15, 2008
                                                         PABLO STEWART, M.D.




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                                                                               APPENDIX A
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January 1997-         Director of Clinical Services, San Francisco Target Cities
September 1998        Project. Overall responsibility for ensuring the quality of the
                      clinical services provided by the various departments of the project
                      including the Central Intake Unit, the ACCESS Project and the San
                      Francisco Drug Court Also responsible for providing clinical in-
                      service training's for the staff of the Project and community
                      agencies that requested technical assistance.

February 1996 -       Medical Director, Comprehensive Homeless Center,
November 1996         Department of Veterans Affairs Medical Center, San Francisco.
                      Overall responsibility for the medical and psychiatric services at
                      the Homeless Center.

March 1995 -          Chief, Intensive Psychiatric Community Care Program,
January 1996          (IPCC) Department of Veterans Affairs Medical Center, San
                      Francisco. Overall clinical/administrative responsibility for the
                      IPCC, a community based case management program. Duties also
                      include     medical/psychiatric   consultation    to     Veteran
                      Comprehensive Homeless Center. This is a social work managed
                      program that provides comprehensive social services to homeless
                      veterans.

April 1991 -          Chief, Substance Abuse Inpatient Unit, (SAIU), Department
February 1995         of Veterans Affairs Medical Center, San Francisco.
                      Overall clinical/administrative responsibility for SAIU.

September 1990 -      Psychiatrist, Substance Abuse Inpatient Unit, Veterans
March 1991            Affairs Medical Center, San Francisco. Clinical responsibility for
                      patients admitted to SAIU. Provide consultation to the
                      Medical/Surgical Units regarding patients with substance abuse
                      issues.

August 1988 -         Director, Forensic Psychiatric Services, City and County of
December 1989         San Francisco. Administrative and clinical responsibility for
                      psychiatric services provided to the inmate population of San
                      Francisco. Duties included direct clinical and administrative
                      responsibility for the Jail Psychiatric Services and the Forensic
                      Unit at San Francisco General Hospital.

July 1986 -           Senior Attending Psychiatrist, Forensic Unit, University of
August 1990           California, San Francisco General Hospital. Administrative and
                      clinical responsibility for a 12-bed, maximum-security psychiatric
                      ward. Clinical supervision for psychiatric residents, postdoctoral
                      psychology fellows and medical students assigned to the ward.
                      Liaison with Jail Psychiatric Services, City and County of San
                      Francisco. Advise San Francisco City Attorney on issues
                      pertaining to forensic psychiatry.
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July 1985             Chief Resident, Department of Psychiatry, University of
June 1986             California San Francisco General Hospital. Team leader of the
                      Latino-focus inpatient treatment team (involving 10-12 patients
                      with bicultural/bilingual issues); direct clinical supervision of 7
                      psychiatric residents and 3-6 medical students; organized weekly
                      departmental Grand Rounds; administered and supervised
                      departmental residents' call schedule; psychiatric consultant to
                      hospital general medical clinic; assistant coordinator of medical
                      student education; group seminar leader for introduction to clinical
                      psychiatric course for UCSF second year medical students.

July 1984 -           Physician Specialist, Westside Crisis Center, San Francisco,
March 1987            CA. Responsibility for Crisis Center operations during assigned
                      shifts; admitting privileges at Mount Zion Hospital. Provided
                      psychiatric consultation for the patients admitted to Mount Zion
                      Hospital when requested.

April 1984 -          Psychiatric Consultant, Marin Alternative Treatment, (ACT).
July 1985             Provided medical and psychiatric evaluation and treatment of
                      residential drug and alcohol clients; consultant to staff concerning
                      medical/psychiatric issues.

August 1983 -         Physician Specialist, Mission Mental Health Crisis Center,
November 1984         San Francisco, CA. Clinical responsibility for Crisis Center
                      clients; consultant to staff concerning medical/psychiatric issues.

July 1982-            Psychiatric Resident, University of California, San Francisco.
July 1985             Primary Therapist and Medical Consultant for the adult inpatient
                      units at San Francisco General Hospital and San Francisco
                      Veterans Affairs Medical Center; Medical Coordinator/Primary
                      Therapist - Alcohol Inpatient Unit and Substance Abuse Clinic at
                      San Francisco Veterans Affairs Medical Center; Outpatient
                      Adult/Child Psychotherapist; Psychiatric Consultant - Adult Day
                      Treatment Center - San Francisco Veterans Affairs Medical
                      Center; Primary Therapist and Medial Consultant - San Francisco
                      General Hospital Psychiatric Emergency Services; Psychiatric
                      Consultant, Inpatient Medical/Surgical Units - San Francisco
                      General Hospital.

June 1973 -           Infantry Officer - United States Marine Corps.
July 1978             Rifle Platoon Commander; Anti-tank Platoon Commander; 81mm
                      Mortar Platoon Commander; Rifle Company Executive Officer;
                      Rifle Company Commander; Assistant Battalion Operations
                      Officer; Embarkation Officer; Recruitment Officer; Drug, Alcohol
                      and Human Relations Counselor; Parachutist and Scuba Diver;
                      Commander of a Vietnamese Refugee Camp. Received an
                      Honorable Discharge. Highest rank attained was Captain.
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HONORS AND AWARDS:

June 1995            Selected by the graduating class of the University of California,
                     San Francisco, School of Medicine as the outstanding psychiatric
                     faculty member for the academic year 1994/1995.

June 1993            Selected by the class of 1996, University of California, San
                     Francisco, School of Medicine as outstanding lecturer, academic
                     year 1992/1993.

May 1993             Elected to Membership of Medical Honor Society, AOA, by the
                     AOA Member of the 1993 Graduating Class of the University of
                     California, San Francisco, School of Medicine.

May 1991             Selected by the graduating class of the University of California,
                     San Francisco, School of Medicine as the outstanding psychiatric
                     faculty member for the academic year 1990-1991.

May 1990             Selected by the graduating class of the University of California,
                     San Francisco, School of Medicine as the outstanding psychiatric
                     faculty member for the academic year 1989-1990.

May 1989             Selected by the graduating class of the University of California,
                     San Francisco, School of Medicine as the outstanding psychiatric
                     faculty member for the academic year 1988-1989.

May 1987             Selected by the faculty and students of the University of
                     California, San Francisco, School of Medicine as the recipient of
                     the Henry J. Kaiser Award For Excellence in Teaching.

May 1987             Selected by the graduating class of the University of California,
                     San Francisco, School of Medicine as Outstanding Psychiatric
                     Resident. The award covered the period of 1 July 1985 to 30 June
                     1986, during which time I served as Chief Psychiatric resident, San
                     Francisco General Hospital.

May 1985             Selected by the graduating class of the University of California,
                     San Francisco, School of Medicine as Outstanding Psychiatric
                     Resident.

1985                 Mead-Johnson American Psychiatric Association Fellowship. One
                     of sixteen nation-wide psychiatric residents selected because of a
                     demonstrated commitment to public sector psychiatry. Made
                     presentation at Annual Hospital and Community Psychiatry
                     Meeting in Montreal, Canada in October 1985, on the “Psychiatric
                     Aspects of the Acquired Immunodeficiency Syndrome.”
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MEMBERSHIPS:

June 2000-            California Association of Drug Court Professionals.
Present

July 1997-            President, Alumni-Faculty Association, University of
June 1998             California, San Francisco, School of Medicine.

July 1996 -           President-Elect, Alumni-Faculty Association, University of
June 1997             California, San Francisco, School of Medicine.

July 1995 -           Vice President, Northern California Area, Alumni-Faculty
June 1996             Association, University of California, San Francisco, School
                      of Medicine.

April 1995 -          Associate Clinical Member, American Group Psychotherapy
April 2002            Association.

July 1992 -           Secretary-Treasurer, Alumni-Faculty Association, University
June 1995             of California, San Francisco, School of Medicine.

July 1990 -           Councilor-at-large, Alumni-Faculty Association, University
June 1992             of California, San Francisco, School of Medicine


PUBLIC SERVICE:

June 1992 -           Examiner, American Board of Psychiatry and Neurology, Inc.

November 1992 -       California Tuberculosis Elimination Task Force, Institutional
January 1994          Control Subcommittee.

September 2000-       Editorial Advisory Board, Juvenile Correctional Mental Health
April 2005            Report.

May 2001-             Psychiatric and Substance Abuse Consultant, San Francisco
Present               Police Officers’ Association.

January 2002-         Psychiatric Consultant, San Francisco Sheriff’s Department
June 2003             Peer Support Program.

February 2003-        Proposition “N” (Care Not Cash) Service Providers’ Advisory
April 2004            Committee, Department of Human Services, City and County of
                      San Francisco.

December 2003-        Member of San Francisco Mayor-Elect Gavin Newsom’s
January 2004          Transition Team.

February 2004-        Mayor’s Homeless Coalition, San Francisco, CA.
June 2004

April 2004-           Member of Human Services Commission, City and County of
January 2006          San Francisco.
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February 2006-        Vice President, Human Services Commission, City and County of
January 2007          San Francisco.

February 2007-        President, Human Services Commission, City and County of
Present               San Francisco.


UNIVERSITY SERVICE:

July 1999-            Seminar Leader, National Youth Leadership Forum On
July 2001             Medicine.

October 1999-         Lecturer, University of California, San Francisco, School of
October 2001          Medicine Post Baccalaureate Reapplicant Program.

November 1998-        Lecturer, University of California, San Francisco, School of
November 2001         Nursing, Department of Family Health Care Nursing. Lecture to
                      the Advanced Practice Nurse Practitioner Students on Alcohol,
                      Tobacco and Other Drug Dependencies.

January 1994 -        Preceptor/Lecturer, UCSF Homeless Clinic Project.
January 2001

June 1990 -           Curriculum Advisor, University of California, San Francisco,
November 1996         School of Medicine.

June 1987 -           Facilitate weekly Support Groups for interns in the
June 1992             Department of Medicine. Also, provide crisis intervention and
                      psychiatric referral for Department of Medicine housestaff.

January 1987 –        Student Impairment Committee, University of California
June 1988             San Francisco, School of Medicine.
                      Advise the Dean of the School of Medicine on methods to identify,
                      treat and prevent student impairment.

January 1986 –        Recruitment/Retention Subcommittee of the Admissions
June 1996             Committee, University of California, San Francisco,
                      School of Medicine.
                      Advise the Dean of the School of Medicine on methods to attract
                      and retain minority students and faculty.

October 1986 -        Member Steering Committee for the Hispanic
September 1987        Medical Education Resource Committee.
                      Plan and present educational programs to increase awareness of the
                      special health needs of Hispanics in the United States.

September 1983 -      Admissions Committee, University of California, School of
June 1989             Medicine.      Duties included screening applications          and
                      interviewing candidates for medical school.

October 1978 -        Co-Founder and Director of the University of California,
December 1980         San Francisco Running Clinic.
                      Provided free instruction to the public on proper methods of
                      exercise and preventative health measures.
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TEACHING RESPONSIBILITIES:

July 2003-            Facilitate weekly psychotherapy training group for residents in the
Present               Department of Psychiatry.

September 2001-       Supervisor, San Mateo County Psychiatric Residency
June 2003             Program.

January 2002-         Course Coordinator of Elective Course University of
January 2004          California, San Francisco, School of Medicine, “Prisoner
                      Health.” This is a 1-unit course, which covers the unique
                      health needs of prisoners.

April 1999-           Lecturer, UCSF School of Pharmacy, Committee for Drug
April 2001            Awareness Community Outreach Project.

February 1998-        Lecturer, UCSF Student Enrichment Program.
June 2000

January 1996 -        Supervisor, Psychiatry 110 students, Veterans
November 1996         Comprehensive Homeless Center.

March 1995-           Supervisor, UCSF School of Medicine, Department of Psychiatry,
Present               Substance Abuse Fellowship Program.

September 1994 -      Course Coordinator of Elective Course, University of
June 1999             California, San Francisco, School of Medicine. Designed, planned
                      and taught course, Psychiatry 170.02, “Drug and Alcohol Abuse.”
                      This is a 1-unit course, which covers the major aspects of drug and
                      alcohol abuse.

August 1994 -         Supervisor, Psychiatric Continuity Clinic, Haight Ashbury
February 2006         Free Clinic, Drug Detoxification and Aftercare Project. Supervise
                      4th Year medical students in the care of dual diagnostic patients.

February 1994 -       Consultant, Napa State Hospital Chemical Dependency
February 2006         Program Monthly Conference.

July 1992 -           Facilitate weekly psychiatric intern seminar, “Psychiatric
June 1994             Aspects of Medicine,” University of California, San Francisco,
                      School of Medicine.

July 1991-            Group and individual psychotherapy supervisor, Outpatient
Present               Clinic, Department of Psychiatry, University of California, San
                      Francisco, School of Medicine.

January 1991          Lecturer, University of California, San Francisco, School of
                      Pharmacy course, “Addictionology and Substance Abuse
                      Prevention.”

September 1990 -      Clinical supervisor, substance abuse fellows, and psychiatric
February 1995         residents, Substance Abuse Inpatient Unit, San Francisco Veterans
                      Affairs Medical Center.
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September 1990 -      Off ward supervisor, PGY II psychiatric residents,
November 1996         Psychiatric Inpatient Unit, San Francisco Veterans Affairs Medical
                      Center.

September 1990 -      Group therapy supervisor, Psychiatric Inpatient Unit, (PIU),
June 1991             San Francisco Veterans Affairs Medical Center.

September 1990 -      Course coordinator, Psychiatry 110, San Francisco Veterans
June 1994             Affairs Medical Center.

September 1989 -      Seminar leader/lecturer, Psychiatry 100 A/B.
November 1996

July 1988 -           Clinical supervisor, PGY III psychiatric residents, Haight
June 1992             Ashbury Free Clinic, Drug Detoxification and Aftercare Project.

September 1987 -      Tavistock Organizational Consultant.
Present               Extensive experience as a consultant in numerous Tavistock
                      conferences.

September 1987 -      Course Coordinator of Elective Course, University of
December 1993         California, San Francisco, School of Medicine. Designed, planned
                      and taught course, Psychiatry 170.02, “Alcoholism”. This is a 1-
                      unit course offered to medical students, which covers alcoholism
                      with special emphasis on the health professional. This course is
                      offered fall quarter each academic year.

July 1987-            Clinical supervisor/lecturer FCM 110, San Francisco
June 1994             General Hospital and Veterans Affairs Medical Center.

July 1986 -           Seminar leader/lecturer Psychiatry 131 A/B.
June 1996

July 1986 -           Clinical supervisor, Psychology interns/fellows,
August 1990           San Francisco General Hospital.

July 1986 -           Clinical supervisor PGY I psychiatric residents,
August 1990           San Francisco General Hospital

July 1986 -           Coordinator of Medical Student Education, University of
August 1990           California, San Francisco General Hospital, Department of
                      Psychiatry. Teach seminars and supervise clerkships to medical
                      students including: Psychological Core of Medicine 100 A/B;
                      Introduction to Clinical Psychiatry 131 A/B; Core Psychiatric
                      Clerkship 110 and Advanced Clinical Clerkship in Psychiatry
                      141.01.

July 1985 -           Psychiatric Consultant to the General Medical Clinic,
August 1990           University of California, San Francisco General Hospital. Teach
                      and supervise medical residents in interviewing and
                      communication skills. Provide instruction to the clinic on the
                      psychiatric aspects of ambulatory medical care.
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COMMUNITY SERVICE:

February 2006-        Board of Directors, Physician Foundation at California Pacific
Present               Medical Center.

June 2004-            Psychiatric Consultant, Hawaii Drug Court.
Present

November 2003-        Organizational/Psychiatric Consultant, State of Hawaii,
Present               Department of Human Services.

June 2003-            Monitor of the psychiatric sections of the “Ayers Agreement,”
December 2004         New Mexico Corrections Department (NMCD). This is a
                      settlement arrived at between plaintiffs and the NMCD regarding
                      the provision of constitutionally mandated psychiatric services for
                      inmates placed within the Department’s “Supermax” unit.

October 2002-         Juvenile Mental Health and Medical Consultant, United
Present               States Department of Justice, Civil Rights Division, Special
                      Litigation Section.

July 1998-            Psychiatric Consultant to the Pacific Research and Training
June 2000             Alliance's Alcohol and Drug Disability Technical Assistance
                      Project. This Project provides assistance to programs and
                      communities that will have long lasting impact and permanently
                      improve the quality of alcohol and other drug services available to
                      individuals with disabilities.

July 1998-            Psychiatric Consultant to the National Council on Crime and
February 2004         Delinquency (NCCD) in its monitoring of the State of Georgia's
                      secure juvenile detention and treatment facilities. NCCD is acting
                      as the monitor of the agreement between the United States and
                      Georgia to improve the quality of the juvenile justice facilities,
                      critical mental health, medical and educational services, and
                      treatment programs. NCCD ceased to be the monitoring agency
                      for this project in June 1999. At that time, the Institute of Crime,
                      Justice and Corrections at the George Washington University
                      became the monitoring agency. The work remained unchanged.

July 1998-            Psychiatric Consultant to the San Francisco Campaign
July 2001             Against Drug Abuse (SF CADA).

March 1997-           Technical Assistance Consultant, Center for Substance
Present               Abuse Treatment, Substance Abuse and Mental Health Services
                      Administration, Department of Health and Human Services.

January 1996-         Psychiatric Consultant to the San Francisco Drug Court.
June 2003

November 1993-        Executive Committee, Addiction Technology Transfer
June 2001             Center (ATTC), University of California, San Diego.
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December 1992 -       Institutional Review Board, Haight Ashbury Free Clinics, Inc.
December 1994         Review all research protocols for the clinic per Department of
                      Health and Human Services guidelines.

June 1991-            Chief of Psychiatric Services, Haight Ashbury Free Clinic.
February 2006         Overall responsibility for psychiatric services at the clinic.

December 1990 -       Medical Director, Haight Ashbury Free Clinic,
June 1991             Drug Detoxification and Aftercare Project. Responsible for
                      directing all medical and psychiatric care at the clinic.

October 1996-         Psychiatric Expert for the U. S. Federal Court in the case of
July 1997             Madrid v. Gomez. Report directly to the Special Master regarding
                      the implementation of constitutionally mandated psychiatric care
                      to the inmates at Pelican Bay State Prison.

April 1990 -          Psychiatric Expert for the U.S. Federal Court in the case of
January 2000          Gates v. Deukmejian. Report directly to the court regarding
                      implementation and monitoring of the consent decree in this case.
                      (This case involves the provision of adequate psychiatric care to
                      the inmates at the California Medical Facility, Vacaville).

January 1984 -        Chief of Psychiatric Services, Haight Ashbury Free Clinic,
December 1990         Drug Detoxification and Aftercare Project.                 Direct
                      medical/psychiatric management of project clients; consultant to
                      staff on substance abuse issues. Special emphasis on dual
                      diagnostic patients.

July -                Medical/Psychiatric Consultant, Youth Services, Hospitality
December 1981         Hospitality House, San Francisco, CA. Advised youth services
                      staff on client management. Provided training on various topics
                      related to adolescents. Facilitated weekly client support groups.


SERVICE TO ELEMENTARY AND SECONDARY EDUCATION:

January 1996 -        Baseball, Basketball and Volleyball Coach, Convent of the
Present               Sacred Heart Elementary School, San Francisco, CA.

September 1994 -      Soccer Coach, Convent of the Sacred Heart Elementary
Present               School, San Francisco, CA.

June 1991-            Board of Directors, Pacific Primary School,
June 1994             San Francisco, CA.

April 1989 -          Umpire, Rincon Valley Little League, Santa Rosa, CA.
July 1996

September 1988 -      Numerous presentations on Mental Health/Substance
May 1995              Abuse issues to the student body, Hidden Valley Elementary
                      School and Santa Rosa Jr. High School, Santa Rosa, CA.
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PRESENTATIONS:

1.    San Francisco Treatment Research Unit, University of California, San Francisco,
      Colloquium #1. (10/12/1990). “The Use of Anti-Depressant Medications with
      Substance-Abusing Clients.”

2.    Grand Rounds. Department of Psychiatry, University of California, San Francisco,
      School of Medicine. (12/5/1990). “Advances in the Field of Dual Diagnosis.”

3.    Associates Council, American College of Physicians, Northern California Region,
      Program for Leadership Conference. (3/3/1991). “Planning a Satisfying Life in
      Medicine.”

4.    24th Annual Medical Symposium on Renal Disease, sponsored by the Medical Advisory
      Board of the National Kidney Foundation of Northern California. (9/11/1991). “The
      Chronically Ill Substance Abuser.”

5.    Mentoring Skills Conference, University of California, San Francisco, School of
      Medicine, Department of Pediatrics. (11/26/91). “Mentoring as an Art.”

6.    Continuing Medical Education Conference, Sponsored by the Department of Psychiatry,
      University of California, San Francisco, School of Medicine. (4/25/1992). “Clinical &
      Research Advances in the Treatment of Alcoholism and Drug Abuse.”

7.    First International Conference of Mental Health and Leisure. University of Utah.
      (7/9/1992). “The Use of Commonly Abused Street Drugs in the Treatment of Mental
      Illness.”

8.    American Group Psychotherapy Association Annual Meeting. (2/20/1993). “Inpatient
      Groups in Initial-Stage Addiction Treatment.”

9.    Grand Rounds. Department of Child Psychiatry, Stanford University School of
      Medicine. (3/17/93, 9/11/96). “Issues in Adolescent Substance Abuse.”

10.   University of California, Extension. Alcohol and Drug Abuse Studies Program.
      (5/14/93), (6/24/94), (9/22/95), (2/28/97). “Dual Diagnosis.”

11.   American Psychiatric Association Annual Meeting.       (5/26/1993).    “Issues in the
      Treatment of the Dual Diagnosis Patient.”

12.   Long Beach Regional Medical Education Center and Social Work Service, San Francisco
      Veterans Affairs Medical Center Conference on Dual Diagnosis. (6/23/1993). “Dual
      Diagnosis Treatment Issues.”

13.   Utah Medical Association Annual Meeting. (10/7/93).               “Prescription Drug
      Abuse Helping your Patient, Protecting Yourself.”

14.   Saint Francis Memorial Hospital, San Francisco, Medical Staff Conference.
      (11/30/1993). “Management of Patients with Dual Diagnosis and Alcohol Withdrawal."

15.   Haight Ashbury Free Clinic’s 27th Anniversary Conference. (6/10/94). "Attention
      Deficit Disorder, Substance Abuse, Psychiatric Disorders and Related Issues.”
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16.   University of California, San Diego. Addiction Technology Transfer Center Annual
      Summer Clinical Institute: (8/30/94), (8/29/95), (8/5/96), (8/4/97), (8/3/98). “Treating
      Multiple Disorders.”

17.   National Resource Center on Homelessness and Mental Illness, A Training Institute for
      Psychiatrists. (9/10/94). “Psychiatry, Homelessness, and Serious Mental Illness.”

18.   Value Behavioral Health/American Psychiatry Management Seminar.            (12/1/1994).
      “Substance Abuse/Dual Diagnosis in the Work Setting.”

19.   Grand Rounds. Department of Oral and Maxillofacial Surgery, University of California,
      San Francisco, School of Dentistry. (1/24/1995). “Models of Addiction.”

20.   San Francisco State University, School of Social Work, Title IV-E Child Welfare
      Training Project. (1/25/95, 1/24/96, 1/13/97, 1/21/98, 1/13/99, 1/24/00, 1/12/01).
      “Demystifying Dual Diagnosis.”

21.   First Annual Conference on the Dually Disordered. (3/10/1995). “Assessment of
      Substance Abuse.” Sponsored by the Division of Mental Health and Substance Abuse
      Services and Target Cities Project, Department of Public Health, City and County of San
      Francisco.

22.   Delta Memorial Hospital, Antioch, California, Medical Staff Conference. (3/28/1995).
      “Dealing with the Alcohol and Drug Dependent Patient.” Sponsored by University of
      California, San Francisco, School of Medicine, Office of Continuing Medical Education.

23.   Centre Hospitalier Robert-Giffaard, Beoupont (Quebec), Canada.     (11/23/95).
      “Reconfiguration of Psychiatric Services in Quebec Based on the San Francisco
      Experience.”

24.   The Labor and Employment Section of the State Bar of California. (1/19/96).
      “Understanding Alcoholism and its Impact on the Legal Profession.”  MCCE
      Conference, San Francisco, CA.

25.   American Group Psychotherapy Association, Annual Training Institute. (2/13-2/14/96),
      National Instructor - Designate training group.

26.   American Group Psychotherapy Association, Annual Meeting. (2/10/96). “The Process
      Group at Work.”

27.   Medical Staff Conference, Kaiser Foundation Hospital, Pleasanton, California, “The
      Management of Prescription Drug Addiction”. (4/24/96)

28.   International European Drug Abuse Treatment Training Project, Ankaran, Slovenia, “The
      Management of the Dually Diagnosed Patient in Former Soviet Block Europe”. (10/5-
      10/11/96)

29.   Contra Costa County Dual Diagnosis Conference, Pleasant Hill, California, “Two
      Philosophies, Two Approaches: One Client”. (11/14/96)

30.   Faith Initiative Conference, San Francisco, California, “Spirituality: The Forgotten
      Dimension of Recovery”. (11/22/96)
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31.   Alameda County Dual Diagnosis Conference, Alameda, California, “Medical
      Management of the Dually Diagnosed Patient”. (2/4/97, 3/4/97)

32.   Haight Ashbury Free Clinic’s 30th Anniversary Conference, San Francisco, California,
      “Indicators for the Use of the New Antipsychotics”. (6/4/97)

33.   DPH/Community Substance Abuse Services/San Francisco Target Cities Project
      sponsored conference, “Intake, Assessment and Service Linkages in the Substance Abuse
      System of Care”, San Francisco, California. (7/31/97)

34.   The Institute of Addictions Studies and Lewis and Clark College sponsored conference,
      1997 Northwest Regional Summer Institute, “Addictions Treatment: What We Know
      Today, How We’ll Practice Tomorrow; Assessment and Treatment of the High-Risk
      Offender”. Wilsonville, Oregon. (8/1/97)

35.   The California Council of Community Mental Health Agencies Winter Conference, Key
      Note Presentation, "Combining funding sources and integrating treatment for addiction
      problems for children, adolescents and adults, as well as coordination of addiction
      treatment for parents with mental health services to severely emotionally disturbed
      children." Newport Beach, California. (2/12/98)

36.   American Group Psychotherapy Association, Annual Training Institute, (2/16-
      2/28/1998), Intermediate Level Process Group Leader.

37.   "Multimodal Psychoanalytic Treatment of Psychotic Disorders: Learning from the
      Quebec Experience." The Haight Ashbury Free Clinics Inc., in conjunction sponsored
      this seminar with the San Francisco Society for Lacanian Studies and the Lacanian
      School of Psychoanalysis. San Francisco, California. (3/6-3/8/1998)

38.   "AIDS Update for Primary Care: Substance Use & HIV: Problem Solving at the
      Intersection." The East Bay AIDS Education & Training Center and the East Bay AIDS
      Center, Alta Bates Medical Center, Berkeley, California sponsored this conference.
      (6/4/1998)

39.   Haight Ashbury Free Clinic's 31st Anniversary Conference, San Francisco, California,
      "Commonly Encountered Psychiatric Problems in Women." (6/11/1998)

40.   Community Networking Breakfast sponsored by San Mateo County Alcohol & Drug
      Services and Youth Empowering Systems, Belmont, California, "Dual Diagnosis, Two
      Approaches, Two Philosophies, One Patient." (6/17/1998)

41.   Grand Rounds, Department of Medicine, Alameda County Medical Center-Highland
      Campus, Oakland, California, "Medical/Psychiatric Presentation of the Patient with both
      Psychiatric and Substance Abuse Problems." (6/19/1998)

42.   "Rehabilitation, Recovery, and Reality: Community Treatment of the Dually Diagnosed
      Consumer." The Occupational Therapy Association of California, Dominican College of
      San Rafael and the Psychiatric Occupational Therapy Action Coalition sponsored this
      conference. San Rafael, California. (6/20/1998)

43.   "Assessment, Diagnosis and Treatment of the Patient with a Dual Diagnosis", Los
      Angeles County Department of Mental Health sponsored conference, Los Angeles, CA.
      (6/29/98)
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44.   Grand Rounds, Wai'anae Coast Comprehensive Health Center, Wai'anae, Hawaii,
      "Assessment and Treatment of the Patient who presents with concurrent Depression and
      Substance Abuse." (7/15/1998)

45.   "Dual Diagnostic Aspects of Methamphetamine Abuse", Hawaii Department of Health,
      Alcohol and Drug Abuse Division sponsored conference, Honolulu, Hawaii. (9/2/98)

46.   9th Annual Advanced Pain and Symptom Management, the Art of Pain Management
      Conference, sponsored by Visiting Nurses and Hospice of San Francisco. "Care Issues
      and Pain Management for Chemically Dependent Patients." San Francisco, CA.
      (9/10/98)

47.   Latino Behavioral Health Institute Annual Conference, "Margin to Mainstream III:
      Latino Health Care 2000." "Mental Illness and Substance Abuse Assessment: Diagnosis
      and Treatment Planning for the Dually Diagnosed", Los Angeles, CA. (9/18/98)

48.   Chemical Dependency Conference, Department of Mental Health, Napa State Hospital,
      "Substance Abuse and Major Depressive Disorder." Napa, CA. (9/23/98)

49.   "Assessment, Diagnosis and Treatment of the Patient with a Dual Diagnosis", San Mateo
      County Drug and Alcohol Services, Belmont, CA. (9/30/98)

50.   "Assessment, Diagnosis and Treatment of the Patient with a Dual Diagnosis",
      Sacramento County Department of Mental Health, Sacramento, CA. (10/13/98)

51.   California Department of Health, Office of AIDS, 1998 Annual AIDS Case Management
      Program/Medi-Cal Waiver Program (CMP/MCWP) Conference, "Triple Diagnosis:
      What's Really Happening with your Patient." Concord, CA. (10/15/98)

52.   California Mental Health Director's Association Meeting: Dual Diagnosis, Effective
      Models of Collaboration; "Multiple Problem Patients: Designing a System to Meet Their
      Unique Needs", San Francisco Park Plaza Hotel. (10/15/98)

53.   Northwest GTA Health Corporation, PEEL MEMORIAL HOSPITAL, Annual Mental
      Health Conference, "Recognition and Assessment of Substance Abuse in Mental Illness."
      Brampton, Ontario, Canada. (10/23/98)

54.   1998 California Drug Court Symposium, "Mental Health Issues and Drug Involved
      Offenders." Sacramento, CA. (12/11/98)

55.   "Assessment, Diagnosis and Treatment Planning for the Dually Diagnosed", Mono
      County Alcohol and Drug Programs, Mammoth Lakes, CA. (1/7/99)

56.   Medical Staff Conference, Kaiser Foundation Hospital, Walnut Creek, CA, "Substance
      Abuse and Major Depressive Disorder." (1/19/99)
57.   "Issues and Strategies in the Treatment of Substance Abusers", Alameda County
      Consolidated Drug Courts, Oakland, CA. (1/22 & 2/5/99)

58.   Compass Health Care's 12th Annual Winter Conference on Addiction, Tucson, AZ: "Dual
      Systems, Dual Philosophies, One Patient", "Substance Abuse and Developmental
      Disabilities" & "Assessment and Treatment of the High Risk Offender." (2/17/99)

59.   American Group Psychotherapy Association, Annual Training Institute, (2/22-
      2/24/1999). Entry Level Process Group Leader.
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60.   "Exploring A New Framework: New Technologies For Addiction And Recovery", Maui
      County Department of Housing and Human Concerns, Malama Family Recovery Center,
      Maui, Hawaii. (3/5 & 3/6/99)

61.   "Assessment, Diagnosis and Treatment of the Dual Diagnostic Patient", San Bernardino
      County Office of Alcohol & Drug Treatment Services, San Bernardino, CA. (3/10/99)

62.   "Smoking Cessation in the Chronically Mentally Ill, Part 1", California Department of
      Mental Health, Napa State Hospital, Napa, CA. (3/11/99)

63.   "Dual Diagnosis and Effective Methods of Collaboration", County of Tulare Health &
      Human Services Agency, Visalia, CA. (3/17/99)

64.   Pfizer Pharmaceuticals sponsored lecture tour of Hawai'i. Lectures included: Major
      Depressive Disorder and Substance Abuse, Treatment Strategies for Depression and
      Anxiety with the Substance Abusing Patient, Advances in the Field of Dual Diagnosis &
      Addressing the Needs of the Patient with Multiple Substance Dependencies. Lecture
      sites included: Straub Hospital, Honolulu; Maui County Community Mental Health;
      Veterans Administration Hospital, Honolulu; Hawai'i (Big Island) County Community
      Mental Health; Mililani (Oahu) Physicians Center; Kahi Mohala (Oahu) Psychiatric
      Hospital; Hale ola Ka'u (Big Island) Residential Treatment Facility. (4/2-4/9/99)

65.   "Assessment, Diagnosis and Treatment of the Patient with Multiple Disorders",
      Mendocino County Department of Public Health, Division of Alcohol & Other Drug
      Programs, Ukiah, CA. (4/14/99)

66.   "Assessment of the Substance Abusing & Mentally Ill Female Patient in Early
      Recovery", Ujima Family Services Agency, Richmond, CA. (4/21/99)

67.   California Institute for Mental Health, Adult System of Care Conference, "Partners in
      Excellence", Riverside, California. (4/29/99)

68.   "Advances in the Field of Dual Diagnosis", University of Hawai'i School of Medicine,
      Department of Psychiatry Grand Rounds, Queens Hospital, Honolulu, Hawai'i. (4/30/99)

69.   State of Hawai'i Department of Health, Mental Health Division, "Strategic Planning to
      Address the Concerns of the United States Department of Justice for the Alleged Civil
      Rights Abuses in the Kaneohe State Hospital." Honolulu, Hawai'i. (4/30/99)

70.   "Assessment, Diagnosis and Treatment Planning for the Patient with Dual/Triple
      Diagnosis", State of Hawai'i, Department of Health, Drug and Alcohol Abuse Division,
      Dole Cannery, Honolulu, Hawai'i. (4/30/99)

71.   11th Annual Early Intervention Program Conference, State of California Department of
      Health Services, Office of Aids, "Addressing the Substance Abuse and Mental Health
      Needs of the HIV (+) Patient." Concord, California. (5/6/99)

72.   The HIV Challenge Medical Conference, Sponsored by the North County (San Diego)
      AIDS Coalition, "Addressing the Substance Abuse and Mental Health Needs of the HIV
      (+) Patient." Escondido, California. (5/7/99)

73.   "Assessment, Diagnosis and Treatment of the Patient with Multiple Disorders", Sonoma
      County Community Mental Health's Monthly Grand Rounds, Community Hospital, Santa
      Rosa, California. (5/13/99)
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74.   "Developing & Providing Effective Services for Dually Diagnosed or High Service
      Utilizing Consumers", Third annual conference presented by the Southern California
      Mental Health Directors Association. Anaheim, California. (5/21/99)

75.   15th Annual Idaho Conference on Alcohol and Drug Dependency, lectures included
      "Dual Diagnostic Issues", "Impulse Control Disorders" and "Major Depressive Disorder."
      Boise State University, Boise, Idaho. (5/25/99)

76.   "Smoking Cessation in the Chronically Mentally Ill, Part 2", California Department of
      Mental Health, Napa State Hospital, Napa, California. (6/3/99)

77.   "Alcohol and Drug Abuse: Systems of Care and Treatment in the United States", Ando
      Hospital, Kyoto, Japan. (6/14/99)

78.   "Alcoholism: Practical Approaches to Diagnosis and Treatment", National Institute On
      Alcoholism, Kurihama National Hospital, Yokosuka, Japan. (6/17/99)

79.   "Adolescent Drug and Alcohol Abuse", Kusatsu Kinrofukushi Center, Kusatsu, Japan.
      (6/22/99)

80.   "Assessment, Diagnosis and Treatment of the Patient with Multiple Diagnoses", Osaka
      Drug Addiction Rehabilitation Center Support Network, Kobe, Japan. (6/26/99)

81.   "Assessment, Diagnosis and Treatment of the Patient with Multiple Diagnoses", Santa
      Barbara County Department of Alcohol, Drug, & Mental Health Services, Buellton,
      California. (7/13/99)

82.   "Drug and Alcohol Issues in the Primary Care Setting", County of Tulare Health &
      Human Services Agency, Edison Ag Tac Center, Tulare, California. (7/15/99)

83.   "Working with the Substance Abuser in the Criminal Justice System", San Mateo County
      Alcohol and Drug Services and Adult Probation Department, Redwood City, California.
      (7/22/99)

84.   1999 Summer Clinical Institute In Addiction Studies, University of California, San Diego
      School of Medicine, Department of Psychiatry. Lectures included: "Triple Diagnosis:
      HIV, Substance Abuse and Mental Illness. What's Really Happening to your Patient?”
      "Psychiatric Assessment in the Criminal Justice Setting, Learning to Detect
      Malingering." La Jolla, California. (8/3/99)

85.   "Assessment, Diagnosis and Treatment Planning for the Patient with Dual and Triple
      Diagnoses", Maui County Department of Housing and Human Concerns, Maui Memorial
      Medical Center. Kahului, Maui. (8/23/99)

86.   "Proper Assessment of the Asian/Pacific Islander Dual Diagnostic Patient", Asian
      American Recovery Services, Inc., San Francisco, California. (9/13/99)

87.   "Assessment and Treatment of the Dual Diagnostic Patient in a Health Maintenance
      Organization", Alcohol and Drug Abuse Program, the Permanente Medical Group, Inc.,
      Santa Rosa, California. (9/14/99)

88.   "Dual Diagnosis", Residential Care Providers of Adult Residential Facilities and
      Facilities for the Elderly, City and County of San Francisco, Department of Public
      Health, Public Health Division, San Francisco, California. (9/16/99)
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89.    "Medical and Psychiatric Aspects of Methamphetamine Abuse", Fifth Annual Latino
       Behavioral Health Institute Conference, Universal City, California. (9/23/99)

90.    "Criminal Justice & Substance Abuse", University of California, San Diego & Arizona
       Department of Corrections, Phoenix, Arizona. (9/28/99)

91.    "Creating Balance in the Ohana: Assessment and Treatment Planning", Hale O Ka'u
       Center, Pahala, Hawai'i. (10/8-10/10/99)

92.    "Substance Abuse Issues of Runaway and Homeless Youth", Homeless Youth 101,
       Oakland Asian Cultural Center, Oakland, California. (10/12/99)

93.    "Mental Illness & Drug Abuse - Part II", Sonoma County Department of Mental Health
       Grand Rounds, Santa Rosa, California. (10/14/99)

94.    "Dual Diagnosis/Co-Existing Disorders Training", Yolo County Department of Alcohol,
       Drug and Mental Health Services, Davis, California. (10/21/99)

95.    “Mental Health/Substance Abuse Assessment Skills for the Frontline Staff”, Los Angeles
       County Department of Mental Health, Los Angeles, California. (1/27/00)

96.    "Spirituality in Substance Abuse Treatment", Asian American Recovery Services, Inc.,
       San Francisco, California. (3/6/00)

97.    “What Every Probation Officer Needs to Know about Alcohol Abuse”, San Mateo
       County Probation Department, San Mateo, California. (3/16/00)

98.    “Empathy at its Finest”, Plenary Presentation to the California Forensic Mental Health
       Association’s Annual Conference, Asilomar, California. (3/17/00)

99.    “Model for Health Appraisal for Minors Entering Detention”, Juvenile Justice Health
       Care Committee’s Annual Conference, Asilomar, California. (4/3/00)

100.   “The Impact of Alcohol/Drug Abuse and Mental Disorders on Adolescent Development”,
       Humboldt County Department of Mental Health and Substance Abuse Services, Eureka,
       California. (4/4-4/5/00)

101.   “The Dual Diagnosed Client”, Imperial County Children’s System of Care Spring
       Training, Holtville, California. (5/15/00)

102.   National Association of Drug Court Professionals 6th Annual Training Conference, San
       Francisco, California. “Managing People of Different Pathologies in Mental Health
       Courts”, (5/31 & 6/1/00); “Assessment and Management of Co-Occurring Disorders”
       (6/2/00).

103.   “Culture, Age and Gender Specific Perspectives on Dual Diagnosis”, University of
       California Berkeley Extension Course, San Francisco, California. (6/9/00)

104.   “The Impact of Alcohol/Drug Abuse and Mental Disorders on Adolescent Development”,
       Thunderoad Adolescent Treatment Centers, Inc., Oakland, California. (6/29 & 7/27/00)

105.   “Assessing the Needs of the Entire Patient: Empathy at its Finest”, NAMI California
       Annual Conference, Burlingame, California. (9/8/00)
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106.   “The Effects of Drugs and Alcohol on the Brain and Behavior”, The Second National
       Seminar on Mental Health and the Criminal Law, San Francisco, California. (9/9/00)

107.   Annual Conference of the Associated Treatment Providers of New Jersey, Atlantic City,
       New Jersey. “Advances in Psychopharmacological Treatment with the Chemically
       Dependent Person” & “Treatment of the Adolescent Substance Abuser” (10/25/00).

108.   “Psychiatric Crises In The Primary Care Setting”, Doctor Marina Bermudez Issues In
       College Health, San Francisco State University Student Health Service. (11/1/00,
       3/13/01)

109.   “Co-Occurring Disorders: Substance Abuse and Mental Health”, California Continuing
       Judicial Studies Program, Center For Judicial Education and Research, Long Beach,
       California. (11/12-11/17/00)

110.   “Adolescent Substance Abuse Treatment”, Alameda County Behavioral Health Care
       Services, Oakland, California. (12/5/00)

111.   “Wasn’t One Problem Enough?” Mental Health and Substance Abuse Issues.
       2001California Drug Court Symposium, “Taking Drug Courts into the New
       Millennium.” Costa Mesa, California. (3/2/01)

112.   “The Impact of Alcohol/Drug Abuse and Mental Health Disorders on the Developmental
       Process.” County of Sonoma Department of Health Services, Alcohol and Other Drug
       Services Division. Santa Rosa, California. (3/8 & 4/5/01)

113.   “Assessment of the Patient with Substance Abuse and Mental Health Issues.” San Mateo
       County General Hospital Grand Rounds. San Mateo, California. (3/13/01)

114.   “Dual Diagnosis-Assessment and treatment Issues.” Ventura County Behavioral Health
       Department Alcohol and Drug Programs Training Institute, Ventura, California. (5/8/01)

115.   Alameda County District Attorney’s Office 4th Annual 3R Conference, “Strategies for
       Dealing with Teen Substance Abuse.” Berkeley, California. (5/10/01)

116.   National Association of Drug Court Professionals 7th Annual Training Conference,
       “Changing the Face of Criminal Justice.” I presented three separate lectures on the
       following topics: Marijuana, Opiates and Alcohol. New Orleans, LA. (6/1-6/2/01)

117.   Santa Clara County Drug Court Training Institute, “The Assessment, Diagnosis and
       Treatment of the Patient with Multiple Disorders.” San Jose, California. (6/15/01)

118.   Washington Association of Prosecuting Attorneys Annual Conference, “Psychiatric
       Complications of the Methamphetamine Abuser.” Olympia, Washington. (11/15/01)

119.   The California Association for Alcohol and Drug Educators 16th Annual Conference,
       “Assessment, Diagnosis and Treatment of Patients with Multiple Diagnoses.”
       Burlingame, California. (4/25/02)

120.   Marin County Department of Health and Human Services, Dual Diagnosis and Cultural
       Competence Conference, “Cultural Considerations in Working with the Latino Patient.”
       (5/21/02)
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121.   3rd Annual Los Angeles County Law Enforcement and Mental Health Conference, “The
       Impact of Mental Illness and Substance Abuse on the Criminal Justice System.” (6/5/02)

122.   New Mexico Department of Corrections, “Group Psychotherapy Training.” Santa Fe,
       New Mexico. (8/5/02)

123.   Judicial Council of California, Administrative Office of the Courts, “Juvenile
       Delinquency and the Courts: 2002.” Berkeley, California. (8/15/02)

124.   California Department of Alcohol and Drug Programs, “Adolescent Development and
       Dual Diagnosis.” Sacramento, California. (8/22/02)

125.   San Francisco State University, School of Social Work, Title IV-E Child Welfare
       Training Project, “Adolescent Development and Dual Diagnosis.” (1/14/02)

126.   First Annual Bi-National Conference sponsored by the Imperial County Behavioral
       Health Services, “Models of Family Interventions in Border Areas.” El Centro,
       California. (1/28/02)

127.   Haight Ashbury Free Clinic's 36th Anniversary Conference, San Francisco, California,
       “Psychiatric Approaches to Treating the Multiple Diagnostic Patient.” (6/6/03)

128.   Motivational Speaker for Regional Co-Occurring Disorders Training sponsored by the
       California State Department of Alcohol and Drug Programs and Mental Health and the
       Substance Abuse Mental Health Services Administration-Center for Substance Abuse
       Treatment, Samuel Merritt College, Health Education Center, Oakland, California.
       (9/4/03)

129.   “Recreational Drugs, Parts I and II”, Doctor Marina Bermudez Issues In College Health,
       San Francisco State University Student Health Service. (10/1/03), (12/3/03)

130.   “Detecting Substance Abuse in our Clients”, California Attorneys for Criminal Justice
       Annual Conference, Berkeley, California. (10/18/03)

131.   “Alcohol, Alcoholism and the Labor Relations Professional”, 10th Annual Labor and
       Employment Public Sector Program, sponsored by the State Bar of California. Labor and
       Employment Section. Pasadena, California. (4/2/04)

132.   Lecture tour of Japan (4/8-4/18/04). “Best Practices for Drug and Alcohol Treatment.”
       Lectures were presented in Osaka, Tokyo and Kyoto for the Drug Abuse Rehabilitation
       Center of Japan.

133.   San Francisco State University, School of Social Work, Title IV-E Child Welfare
       Training Project, “Adolescent Development and Dual Diagnosis.” (9/9/04)

134.   “Substance Abuse and the Labor Relations Professional”, 11th Annual Labor and
       Employment Public Sector Program, sponsored by the State Bar of California. Labor and
       Employment Section. Sacramento, California. (4/8/05)

135.   “Substance Abuse Treatment in the United States”, Clinical Masters Japan Program,
       Alliant International University. San Francisco, California. (8/13/05)

136.   Habeas Corpus Resource Center, Mental Health Update, “Understanding Substance
       Abuse.” San Francisco, California. (10/24/05)
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137.   Yolo County Department of Behavioral Health, “Psychiatric Aspects of Drug and
       Alcohol Abuse.” Woodland, California. (1/25/06), (6/23/06)

138.   “Methamphetamine-Induced Dual Diagnostic Issues”, Medical Grand Rounds, Wilcox
       Memorial Hospital, Lihue, Kauai. (2/13/06)

139.   Lecture tour of Japan (4/13-4/23/06). “Assessment and Treatment of the Patient with
       Substance Abuse and Mental Illness.” Lectures were presented in Hiroshima and Kyoto
       for the Drug Abuse Rehabilitation Center of Japan.

140.   “Co-Occurring Disorders: Isn’t It Time We Finally Got It Right?” California Association
       of Drug Court Professionals, 2006 Annual Conference. Sacramento, California.
       (4/25/06)

141.   “Proper Assessment of Drug Court Clients”, Hawaii Drug Court, Honolulu. (6/29/06)

142.   “Understanding Normal Adolescent Development,” California Association of Drug Court
       Professionals, 2007 Annual Conference. Sacramento, California. (4/27/07)

143.   “Dual Diagnosis in the United States,” Conference sponsored by the Genesis Substance
       Abuse Treatment Network. Medford, Oregon. (5/10/07)

144.   “Substance Abuse and Mental Illness: One Plus One Equals Trouble,” National
       Association of Criminal Defense Lawyers 2007 Annual Meeting & Seminar. San
       Francisco, California. (8/2/07)

145.   “Capital Punishment,” Human Writes 2007 Conference. London, England. (10/6/07)

146.   “Co-Occurring Disorders for the New Millennium,” California Hispanic Commission on
       Alcohol and Drug Abuse, Montebello, California. (10/30/07)

147.   “Methamphetamine-Induced Dual Diagnostic Issues for the Child Welfare Professional,”
       Beyond the Bench Conference. San Diego, California. (12/13/07)

148.   “Working with Mentally Ill Clients and Effectively Using Your Expert(s),” 2008
       National Defender Investigator Association (NDIA), National Conference, Las Vegas,
       Nevada. (4/10/08)

149.   “Mental Health Aspects of Diminished Capacity and Competency,” Washington Courts
       District/Municipal Court Judges’ Spring Program. Chelan, Washington. (6/3/08)

150.   “Reflection on a Career in Substance Abuse Treatment, Progress not Perfection,”
       California Department of Alcohol and Drug Programs 2008 Conference. Burlingame,
       California. (6/19/08)


PUBLICATIONS:
1)     Kanas, N., Stewart, P. and Haney, K. (1988). Content and outcome in a short-term
       therapy group for schizophrenic outpatients. Hospital and Community Psychiatry, 39,
       437-439.

2)     Kanas, N., Stewart, P. (1989). Group process in short-term outpatient therapy groups for
       schizophrenics. Group, Volume 13, Number 2, Summer 1989.
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3)    Zweben, J.E., Smith, D.E. and Stewart, P. (1991). Psychotic Conditions and Substance
      Use: Prescribing Guidelines and Other Treatment Issues. Journal of Psychoactive
      Drugs, Vol. 23(4) Oct-Dec 1991, 387395.

4)    Banys, P., Clark, W.H., Tusel, D.J., Sees, K., Stewart, P., Mongan, L., Delucchi, K., and
      Callaway, E. (1994). An Open Trial of Low Dose Buprenorphine in Treating Methadone
      Withdrawal. Journal of Substance Abuse Treatment, Vol 11(1), 9-15.

5)    Hall, S.M., Tunis, S., Triffleman, E., Banys, P., Clark, W.H., Tusel, D., Stewart, P., and
      Presti, D. (1994). Continuity of Care and Desipramine in Primary Cocaine Abusers. The
      Journal of Nervous and Mental Disease, Vol 182(10), 570-575.

6)    Galloway, G.P., Frederick, S.L., Thomas, S., Hayner, G., Staggers, F.E., Wiehl, W. O.,
      Sajo, E., Amodia, D., and Stewart, P. (1996). A Historically Controlled Trail Of Tyrosine
      for Cocaine Dependence. Journal of Psychoactive Drugs, Vol. 28(3), July-September
      1996

7)    Stewart, P. (1999). Alcoholism: Practical Approaches To Diagnosis And Treatment.
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